Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 1 of 127 PageID #:4




                                                                   EXHIBIT A
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 2 of 127 PageID #:5
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 3 of 127 PageID #:6
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 4 of 127 PageID #:7
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 5 of 127 PageID #:8
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 6 of 127 PageID #:9
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 7 of 127 PageID #:10
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 8 of 127 PageID #:11
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 9 of 127 PageID #:12
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 10 of 127 PageID #:13
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 11 of 127 PageID #:14
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 12 of 127 PageID #:15
           Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 13 of 127 PageID #:16




From: Scott Crouch <Scott.Crouch@cityofchicago.org>
Sent: Wednesday, August 18, 2021 12:41 PM
To: Gina LaRose <GLaRose@cudalaw.com>; Anthony Cuda <acuda@cudalaw.com>
Cc: Jessica Durkin <Jessica.Durkin@cityofchicago.org>; Pamela Buscemi <Pamela.Buscemi@cityofchicago.org>; Sydney
Seal <Sydney@cudalaw.com>
Subject: Re: Postrelko v. City - 21 L 6834- Introduction and responsive pleading
Thanks, Gina,

We will draft the motion. We still need to file appearances, but the Clerk's website has been down all week so we've
been unable to access the court forms.

Regards,
Scott

Get Outlook for Android


From: Gina LaRose <GLaRose@cudalaw.com>
Sent: Wednesday, August 18, 2021, 12:39 PM
To: Scott Crouch; Anthony Cuda
Cc: Jessica Durkin; Pamela Buscemi; Sydney Seal
Subject: Re: Postrelko v. City - 21 L 6834- Introduction and responsive pleading



   [Warning: External email]


Hello Scott,

We will agree to an extension and to transferring to the commercial calendar. Will you be drafting the motion
to transfer?

                                                            1                                    EXHIBIT B
           Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 14 of 127 PageID #:17


Thank you,
Gina LaRose

From: Scott Crouch <Scott.Crouch@cityofchicago.org>
Sent: Wednesday, August 18, 2021 11:07 AM
To: Anthony Cuda <acuda@cudalaw.com>
Cc: Jessica Durkin <Jessica.Durkin@cityofchicago.org>; Pamela Buscemi <Pamela.Buscemi@cityofchicago.org>; Gina
LaRose <GLaRose@cudalaw.com>; Sydney Seal <Sydney@cudalaw.com>
Subject: RE: Postrelko v. City - 21 L 6834- Introduction and responsive pleading
Hi Tony,
I hope you’re doing well. I’m just following up on our email exchange from a few days ago
regarding our requested extension to answer/otherwise plead and about transferring to the
commercial calendar.
Thanks,
Scott
Scott Crouch
Pronouns: he/him/his
Assistant Corporation Counsel
City of Chicago Department of Law - Employment Litigation Division
2 N. LaSalle, Suite #640, Chicago, IL 60602
Office (312) 744-8369
Mobile (312) 857-8366
Scott.Crouch@CityOfChicago.org

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respond to the individual sending the message, and permanently delete the original and any copy of any e-mail and printout
thereof.
From: Anthony Cuda <acuda@cudalaw.com>
Sent: Monday, August 9, 2021 10:33 AM
To: Scott Crouch <Scott.Crouch@cityofchicago.org>
Cc: Jessica Durkin <Jessica.Durkin@cityofchicago.org>; Pamela Buscemi <Pamela.Buscemi@cityofchicago.org>; Gina
LaRose <GLaRose@cudalaw.com>; Sydney Seal <Sydney@cudalaw.com>
Subject: RE: Postrelko v. City - 21 L 6834- Introduction and responsive pleading
   [Warning: External email]

Dear Mr. Crouch,
Thank you for your email,. Please add, attorney Gina Larose, and our paralegal, Sydney Seal.
We will discuss your email with our client and get back to you.
Sincerely,
Tony
Anthony Cuda
Attorney at Law
CUDA LAW OFFICES, LTD.
6525 West North Avenue, Suite 204
Oak Park, Illinois 60302
Main: 708-383-4900
                                                                2
            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 15 of 127 PageID #:18

Direct Dial: 708-665-3000
Cell: 312-543-3700
Fax: 708-383-0100
acuda@cudalaw.com



               To help           To help                            To help
               protect y our     protect y our                      protect y our
               priv acy ,        priv acy ,                         priv acy ,
               Micro so ft       Micro so ft                        Micro so ft
               Office            Office                             Office
               prev ented        prev ented                         prev ented
               auto matic        auto matic                         auto matic
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From: Scott Crouch <Scott.Crouch@cityofchicago.org>
Sent: Friday, August 6, 2021 5:25 PM
To: Anthony Cuda <acuda@cudalaw.com>
Cc: Jessica Durkin <Jessica.Durkin@cityofchicago.org>; Pamela Buscemi <Pamela.Buscemi@cityofchicago.org>
Subject: Postrelko v. City - 21 L 6834- Introduction and responsive pleading
Good evening, Counsel,
I am the attorney representing the City of Chicago in the above referenced matter. My colleague, Jessica Durkin
(cc'd on this email) is representing Sgt. Cooney. Pam Buscemi (cc'd) is a paralegal from our office who has been
assigned to the matter.
Jessica and I are in receipt of your complaint and are in the process of reviewing the allegations and conducting our
initial investigations. Based on the need for further investigation, deadlines in other matters, we plan on filing a
motion for extension of time to October 1, 2021, to answer or otherwise plead to the complaint. We wondered if
you had any objection to such a request.
Additionally, we saw that the case is assigned to the 22nd floor of the Daley Center. Typically, employment
discrimination cases are assigned to the law division's commercial calendar. We wondered if you would oppose a
request to transfer to the appropriate division.
Thank you in advance. We look forward to working with you to resolve this matter.
Regards,
Scott
Scott Crouch
Pronouns: he/him/his
Assistant Corporation Counsel
City of Chicago Department of Law - Employment Litigation Division
2 N. LaSalle, Suite #640, Chicago, IL 60602
Office (312) 744-8369
Mobile (312) 857-8366
Scott.Crouch@CityOfChicago.org

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           Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 16 of 127 PageID #:19
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                                                       Case: 1:22-cv-00173 Document #:12-Person
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                                                                                                                           COOK COUNTY, IL
FILED DATE: 8/19/2021 9:48 AM 2021L006834




                                                                                                                           2021L006834
                                            Brian Postrelko
                                                                                                    21 L 6834

                                                                                                          X
                                            City of Chicago, et al.




                                            City of Chicago




                                                                                                     Scott Crouch




                                                           90909

                                                    Scott Crouch
                                                      Defendant City of Chicago
                                                     2 N. LaSalle Street, Suite 640
                                                           Chicago/IL/60602
                                                        312-744-8369
                                                            scott.crouch@cityofchicago.org




                                                                                                                           EXHIBIT C
                                                       Case: 1:22-cv-00173 Document #:12-Person
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FILED DATE: 8/19/2021 9:53 AM 2021L006834




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                                            Brian Postrelko
                                                                                                    21 L 6834

                                                                                                          X
                                            City of Chicago, et al.




                                            Carrie A. Cooney




                                                                                                     Jessica R Durkin




                                                           90909

                                                    Jessica R Durkin
                                                      Defendant City of Chicago
                                                      2 N. LaSalle Street, Suite 640
                                                           Chicago/IL/60602
                                                        312-744-2836
                                                            jessica.durkin@cityofchicago.org
                      Hearing Date: NoCase:
                                       hearing1:22-cv-00173
                                               scheduled     Document                    #: 1-1 Filed: 01/11/22 Page 19 of 127 PageID #:22
                      Courtroom Number: No hearing scheduled
                      Location: No hearing scheduled
                                                                                                                                        FILED
                                                                                                                                        10/1/2021 2:54 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                               IRIS Y. MARTINEZ
                                                                  COUNTY DEPARTMENT, LAW DIVISION                                       CIRCUIT CLERK
                                                                                                                                        COOK COUNTY, IL
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                                                                                                        2021L006834
                                            BRIAN POSTRELKO,                                      )
                                                                                                  )                                     15050079
                                                                    Plaintiff,                    )
                                                                                                  )
                                                    v.                                            )       No.: 2021 L 006834
                                                                                                  )
                                            CITY OF CHICAGO, a Municipal                          )       Honorable Daniel J. Kubasiak
                                            Corporation, POLICE DEPARTMENT,                       )
                                            and officer CARRIE A. COONEY,                         )       Commercial Calendar T
                                            individually, and as an agent and                     )
                                            employee of the CITY OF CHICAGO,                      )
                                                                                                  )
                                                                    Defendants.                   )

                                             DEFENDANT CITY OF CHICAGO’S PARTIAL MOTION TO DISMISS PURSUANT
                                                                   TO 735 ILCS 5/2-619.1

                                                    Defendant, City of Chicago (“the City”) through Celia Meza, corporation counsel for the

                                            City moves to dismiss Counts I, II and III of Plaintiff’s Complaint pursuant to 735 ILCS 5/2-

                                            619(a)(1) and 735 ILCS 5/2-619(a)(9). The City also moves to dismiss Count III of Plaintiff’s

                                            Complaint pursuant to 735 ILCS 5/2-615. The City states the following in support of its motion.

                                                                                    I.       INTRODUCTION

                                                    Plaintiff alleges the City violated the Illinois Human Rights Act (IHRA), and is liable for

                                            Defendant Cooney’s alleged battery and intentional infliction of emotional distress (IIED).

                                            However, Plaintiff failed to administratively exhaust his IHRA charge and his IHRA claim is thus

                                            barred. The IHRA preempts Plaintiff’s Battery and IIED claims against the City (Counts II and III,

                                            respectively). Plaintiff fails to state a cause of action for IIED, which is a separate basis for

                                            dismissing Count III. Additionally, the Chicago Police Department is not a suable entity and thus

                                            should be dismissed from the Complaint and stricken from the caption. Finally, the Tort Immunity

                                            Act bars Plaintiff’s request for punitive damages against the City in counts I, II and III of the

                                            Complaint.



                                                                                                                                        EXHIBIT D
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 20 of 127 PageID #:23



                                                                                II.      FACTUAL BACKGROUND

                                            A.       Allegations in Plaintiff’s Complaint
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                     Plaintiff is a Police Officer with the Chicago Police Department (CPD). Plaintiff alleges that

                                            between January and March 2021, his then-supervisor, Defendant Sgt. Carrie Cooney, sexually

                                            harassed him. Plaintiff alleges Sgt. Cooney’s purported harassment of Plaintiff took the following

                                            forms:

                                                 -   Inappropriate unwanted sexual comments and advances towards Plaintiff, (Complaint
                                                     (“Comp.”) (attached as “Exhibit 1” or “Ex. 1”) at ¶¶4, 5);
                                                 -   Taking a picture of Plaintiff’s buttocks without consent, (id. at ¶5);
                                                 -   Pulling Plaintiff by his backpack without consent, (id.);
                                                 -   Touching Plaintiff’s back and neck without his consent, (id.);
                                                 -   “Graz[ing] up against [Plaintiff’s] buttocks and back without his consent,” (id.);
                                                 -   Grabbing and fixing Plaintiff’s shirt collar without his consent, (id.);
                                                 -   Violating social distancing protocols, (id.);
                                            Plaintiff also concludes that Defendant Cooney retaliated against him but does not specify what

                                            form the alleged retaliation took. (Id.) Plaintiff also alleges that Defendant Cooney “sexually

                                            discriminated” against him, but fails to allege how. (Id.)

                                                     In Count I of the Complaint, Plaintiff alleges the City, as Defendant Cooney’s principal,

                                            violated the Illinois Human Rights Act’s prohibition on sexual harassment, 775 ILCS 5/2-102(D)

                                            (“IHRA”). (Comp., ¶13).

                                                     In Count II of the Complaint, Plaintiff alleges that the purported unwanted touching

                                            outlined in paragraph 5 of the Complaint constituted battery. (Id. at ¶30). Plaintiff alleges the City, as

                                            Defendant Cooney’s principal, is liable for the alleged acts of battery. (Id. at ¶31).

                                                     In Count III of the Complaint, Plaintiff alleges the purported “inappropriate sexual advances

                                            and impermissible touching of the Plaintiff as set forth in Paragraph 5 [of the Complaint]”




                                                                                                     2
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 21 of 127 PageID #:24



                                            constituted IIED in violation of Illinois common law. (Id. at ¶45). Plaintiff further alleges the City is

                                            liable for IIED since Defendant Cooney is the City’s “agent and employee.” (Id. at ¶46).1
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                    In Counts I, II and III’s “Wherefore” paragraphs, Plaintiff requests punitive damages be

                                            included in any judgment against the City. (Id. at pp. 4 (Count I, “Wherefore” paragraph), 5 (Count

                                            II, “Wherefore” paragraph), 6 (Count III, “Wherefore” paragraph)).

                                            B.      Administrative Proceedings before EEOC and failure to notify IDHR

                                                    On May 12, 2021, Plaintiff cross-filed a charge of discrimination with the U.S. Equal

                                            Employment Opportunity Commission (“EEOC”) and the Illinois Department of Human Rights

                                            (“IDHR”). (Charge of Discrimination, Ex. 1-A). Pursuant to the cooperative agreement between the

                                            EEOC and IDHR, the EEOC conducted the initial investigation of Plaintiff’s charge. (A copy of

                                            the EEOC May 24, 2021 letter to the IDHR indicating the EEOC would conduct the initial

                                            investigation is part of the IDHR file attached hereto as “Exhibit 2” or “Ex. 2” at p. 5).

                                                    On May 24, 2021, the IDHR sent Plaintiff a letter notifying him that the IDHR would take

                                            no further action on Plaintiff’s IDHR charge unless Plaintiff requested the IDHR do so after the

                                            EEOC issued its findings. (Ex. 2, p. 1). The IDHR’s letter to Plaintiff stated, in relevant part:

                                                    Since you filed your discrimination charge initially with the EEOC, the EEOC is the
                                                    governmental agency responsible for investigating the charge and the investigation
                                                    will be conducted pursuant to the rules and procedures adopted by the EEOC. The
                                                    Department will take no action on your charge until the EEOC issues its findings.
                                                    After the EEOC issues its findings, if you want the Department to take any
                                                    further action on your charge, you must send the Department a copy of the
                                                    EEOC’s findings within 30 days after service of the EEOC’s findings on you. .
                                                    ..

                                                    If you received the EEOC’s findings prior to receipt of this letter, you have 30 days
                                                    from the date of this letter to send the Department a copy of the EEOC’s findings.
                                                    Upon receipt of the EEOC’s findings, the Department will mail you a notice as to
                                                    what further action the Department may take on your charge. . . .



                                            1Counts I, II and III are directed only towards the City. Counts IV, V and VI are directed only towards
                                            Defendant Cooney and are not addressed in this motion.


                                                                                                  3
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 22 of 127 PageID #:25



                                                    Your failure to timely provide the EEOC’s findings to the Department will result
                                                    only in the Department closing your file. . . . If you do not wish to proceed with the
                                                    Department, you do not need to take any further action.
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            Id. The EEOC issued its findings to Plaintiff on May 24, 2021. (Ex. 1-B). Per the IDHR, Plaintiff

                                            never submitted the EEOC filings to the IDHR: “the [IDHR]’s records do not show that [Plaintiff]

                                            notified the Department in writing of his intent to proceed before the Department. Therefore, the

                                            Department did not investigate [Plaintiff]’s allegations . . . .” (September 20, 2021 Letter from the

                                            IDHR, “Exhibit 3” or “Ex. 3”). The IDHR never issued Plaintiff a right to sue letter. (See Ex. 2

                                            (entire IDHR file received via FOIA) and Ex. 3 (letter from the IDHR explaining charge was not

                                            investigated). Plaintiff filed suit on July 6, 2021. (Ex. 1).

                                                                                    III.     LEGAL STANDARD

                                                    A section 2-615 motion to dismiss attacks the legal sufficiency of a complaint by alleging

                                            defects on the face of the complaint. Trilisky v. City of Chicago, 2019 IL App (1st) 182189, ¶ 28, 143

                                            N.E.3d 925, 935 (citing Vitro v. Mihelcic, 209 Ill. 2d 76, 81, 806 N.E.2d 632 (2004)). When ruling on a

                                            section 2-615 motion, the relevant question is whether the allegations in the complaint, construed in

                                            a light most favorable to the plaintiff, are sufficient to state a cause of action upon which relief may

                                            be granted. Trilisky, 2019 IL App (1st) 182189, ¶ 28 (citing Canel v. Topinka, 212 Ill. 2d 311, 317, 818

                                            N.E.2d 311 (2004)).

                                                    A motion to dismiss pursuant to 735 ILCS 5/2-619 admits the sufficiency of all well-pleaded

                                            facts but argues for the dismissal of the complaint based on an affirmative matter defeating the claim

                                            or avoiding its legal effect. Janda v. United States Cellular Corp., 2011 IL App (1st) 103552, ¶ 83. A

                                            motion brought pursuant to section 2-619(a)(1) asserts “the court does not have jurisdiction of the

                                            subject matter of the action . . . .” 735 ILCS 5/2-619(a)(1). A motion brought pursuant to 2-

                                            619(a)(9) asserts “the claim asserted against defendant is barred by other affirmative matter avoiding

                                            the legal effect of or defeating the claim.” 735 ILCS 5/2-619(a)(9).



                                                                                                   4
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 23 of 127 PageID #:26



                                                    “Motions with respect to pleadings under Section 2-615, motions for involuntary dismissal

                                            or other relief under Section 2-619 . . . may be filed together as a single motion in any combination.
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            A combined motion, however, shall be in parts. Each part shall be limited to and shall specify that it

                                            is made under one of Sections 2-615 [or] 2-619 . . . . Each part shall also clearly show the points or

                                            grounds relied upon under the Section upon which it is based.” 735 ILCS 5/2-619.1.

                                                                                      IV.     ARGUMENT

                                            A.      Plaintiff’s IHRA claim against the City (Count I) should be dismissed as Plaintiff
                                                    failed to administratively exhaust his complaint with the IDHR (Dismissal pursuant
                                                    to 2-619(a)(9))

                                                    Before initiating suit under the IHRA a plaintiff must generally file a charge of

                                            discrimination with the IDHR; the plaintiff may then file a civil suit after (1) he receives a final

                                            report from the IDHR, or (2) the IDHR fails to issue a report within a year after the charge is filed.

                                            775 ILCS 5/7A-102(D), (G). Where a complainant files a charge with the EEOC and cross-files the

                                            charge with IDHR, the IHRA provides that “the [IDHR] shall take no action until the EEOC makes

                                            a determination on the charge and after the complainant notifies the Department of the EEOC's

                                            determination.” 775 ILCS 5/7A-102(A-1)(1). After the EEOC notifies the IDHR that the charge

                                            has been filed, the IDHR is required to notify the parties that “the complainant must submit a copy

                                            of the EEOC’s determination within 30 days after service of the determination by the EEOC on

                                            complainant.” 775 ILCS 5/7A-102(A-1)(1)(iv). (See Ex. 2, p. 1). Once it receives the EEOC

                                            determination, the IDHR will either adopt the EEOC’s determination or initiate its own

                                            investigation. 775 ILCS 5/7A-102(A-1).

                                                    The IHRA provides that “the complainant must submit a copy of the EEOC's

                                            determination within 30 days after service of the determination by the EEOC on complainant.” 775

                                            ILCS 5/7A-102(A-1)(1)(iv)(emphasis added); (see Ex. 2, p. 1 (letter from IDHR to Plaintiff

                                            informing him of this requirement). Compliance with such a statutory time limit “is a condition



                                                                                                5
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 24 of 127 PageID #:27



                                            precedent to the right to seek a remedy before an administrative body, and ... a prerequisite to the

                                            acquisition of subject matter jurisdiction.” Bumphus v. Ill. Human Rights Comm'n, 2021 IL App (5th)
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            200037-U, ¶ 17, 2021 WL 754596 (internal quotations omitted). Accordingly, where plaintiffs have

                                            failed to comply with the 30-day notice requirement, courts have dismissed IHRA claims for lack of

                                            exhaustion of administrative remedies. Donald v. City of Chicago, 20-CV-6815, 2021 WL 1946335, at *4

                                            (N.D. Ill. May 14, 2021) (quoting Jafri v. Signal Funding LLC, No. 19 C 645, 2019 WL 4824883, at *2

                                            (N.D. Ill. Oct. 1, 2019)(internal citations omitted).

                                                    Here, Plaintiff filed a Charge of Discrimination with the EEOC, Charge No. 440-2021-

                                            02528 (see Ex. 1-A) (the “Charge”), on May 12, 2021, which was automatically cross-filed with the

                                            IDHR. (Ex. 1-A; Ex. 2, p. 5). On May 24, 2021, the IDHR notified Plaintiff that to proceed with

                                            his Charge before the IDHR, Plaintiff was required to notify the IDHR of the EEOC’s findings

                                            within 30 days of the EEOC’s service of their findings on Plaintiff. (Ex. 2, p. 1). On May 24, 2021,

                                            the EEOC issued Plaintiff a Dismissal and Notice of Rights. (Ex. 1-B). Plaintiff failed to notify

                                            IDHR of EEOC’s findings. On September 20, 2021, IDHR issued a letter stating “the Department’s

                                            records do not show that Mr. Postrelko notified the Department in writing of his intent to proceed

                                            before the Department. Therefore, the Department did not investigate Mr. Postrelko’s allegations . .

                                            . .” (Ex. 3). Plaintiff’s failure to notify the IHRA of the EEOC’s findings is indistinguishable from

                                            the facts of Donald and Jafri, and the result should be the same. Plaintiff’s IHRA claims should be

                                            dismissed because he failed to exhaust his administrative remedies.

                                            B.      The IHRA preempts Plaintiff’s Battery and IIED claims (Counts II & III) and thus
                                                    the Court does not have subject matter jurisdiction over these claims (Dismissal
                                                    pursuant to 2-619(a)(1)).

                                                    The IHRA clearly states: “[e]xcept as otherwise provided by law, no court of this state shall

                                            have jurisdiction over the subject of an alleged civil rights violation other than as set forth in this

                                            Act.” 775 ILCS 5/8–111(C). The IHRA’s definitions of “civil rights violations” include sexual



                                                                                                 6
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 25 of 127 PageID #:28



                                            harassment, (775 ILCS 5/2-102(D)) and retaliation “against a person because he or she has opposed

                                            that which he or she reasonably and in good faith believes to be unlawful discrimination [or] sexual
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            harassment in employment. . .” 775 ILCS 5/6-101(A). "Sexual harassment" is defined as

                                                    any unwelcome sexual advances or requests for sexual favors or any conduct of a
                                                    sexual nature when (1) submission to such conduct is made either explicitly or
                                                    implicitly a term or condition of an individual's employment, (2) submission to or
                                                    rejection of such conduct by an individual is used as the basis for employment
                                                    decisions affecting such individual, or (3) such conduct has the purpose or effect of
                                                    substantially interfering with an individual's work performance or creating an
                                                    intimidating, hostile or offensive working environment.

                                            775 ILCS 5/2-101(E).

                                                    Illinois and federal courts have repeatedly held that “[t]he IHRA is the exclusive remedy for

                                            civil-rights violations. It ‘preempts tort claims that are ‘inextricably linked’ to allegations of sexual

                                            harassment.’” Nischan v. Stratosphere Quality, LLC, 865 F.3d 922, 934 (7th Cir. 2017)(quoting Quantock

                                            v. Shared Mktg. Servs., Inc., 312 F.3d 899, 905 (7th Cir. 2002) (citing Maksimovic v. Tsogalis, 177 Ill. 2d

                                            511 (1997)). See Quantock, 312 F.3d 899, 905 (7th Cir. 2002) (IIED claim was preempted by the

                                            IHRA because plaintiff alleged that employer's motivation was sexual harassment). The IHRA’s

                                            preemption provision deprives Illinois’ circuit courts of subject matter jurisdiction over all

                                            intentional tort actions seeking redress for civil rights violations, such as discrimination, sexual

                                            harassment and retaliation. If a tort cause of action relies upon “wrongful and unjustified conduct

                                            prohibited by [the Act]” then circuit courts lack subject-matter jurisdiction over that cause of action.

                                            Welch v. Illinois Supreme Court, 322 Ill. App. 3d 345, 356-57 (3d Dist. 2001). See also, Veazey v. LaSalle

                                            Telecomm., Inc., 334 Ill. App. 3d 926, 934 (1st Dist. 2002); Anderson v. Pistner, 148 Ill. App. 3d 616, 619-

                                            20 (1st Dist. 1986). “Claims for assault, battery, and [IIED] that rest solely on allegations of sexual

                                            harassment are preempted.” Griffin v. Sutton Ford, Inc., 452 F. Supp. 2d 842, 845 (N.D. Ill.

                                            2006)(citing Quantock, 312 F.3d 899, 902, 905 (7th Cir. 2002) (IIED claim preempted); Thomas v.

                                            L'Eggs Prods., Inc., 13 F.Supp. 2d 806, 810 (C.D. Ill. 1998) (battery claim preempted)).



                                                                                                  7
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 26 of 127 PageID #:29



                                                    Here, Plaintiff uses the same allegations that form the basis of his IHRA claims to form the

                                            bases of his Battery and IIED claims. (See Ex. 1, “Count II, Battery [Plaintiff] v. City of Chicago,” at
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            ¶30 (incorporating by reference ¶5 from Count I, violation of the IHRA); see Ex. 1, “Count III,

                                            [IIED], [Plaintiff] v. City of Chicago,” at ¶44 (same)). Plaintiff acknowledges that his battery and

                                            IIED claims arise under the IHRA. (See Ex. 1, “Count II, Battery [Plaintiff] v. City of Chicago,” at

                                            ¶32 (“the conduct of Defendant Carrie A. Cooney, as agent and employee of Defendant City of

                                            Chicago, is so outrageous as to warrant an award of punitive damages to deter others from similar

                                            conduct as authorized and contemplated by the Illinois Human Rights Act”); see Ex. 1, “Count III,

                                            [IIED], [Plaintiff] v. City of Chicago” at ¶47(“the conduct of Defendant Carrie A. Cooney, as agent

                                            and employee of Defendant City of Chicago, was so outrageous as to warrant an award of punitive

                                            damages to deter others from similar conduct as authorized and contemplated by the Illinois Human

                                            Rights Act”). Other than the IHRA, the Complaint does not identify any independent theory of

                                            City’s alleged liability for the alleged battery and IIED connected with Defendant Cooney’s alleged

                                            harassing acts. “In other words, the [] battery and IIED claims arise solely as a result of a duty

                                            imposed under the IHRA; therefore, these are inextricably linked.” Griffin, 452 F. Supp. 2d at 846

                                            (internal citations omitted).

                                                    Additionally, the IHRA still preempts intentional tort claims even when a plaintiff fails to

                                            properly bring an IHRA claim or does not reference the IHRA at all. In Geise v. Phoenix Co. of Chicago,

                                            Inc., 159 Ill. 2d 507, the plaintiff filed only a “common law tort action” alleging, inter alia, her

                                            employer negligently hired and negligently retained a supervisor who sexually harassed her. 159 Ill.

                                            2d at 509, 517-18. The Illinois Supreme Court nevertheless ruled that the IHRA preempted the tort

                                            claims because “the concept of sexual harassment is inextricably linked to [plaintiff’s tort claims

                                            against her employer]”. Id., 159 Ill. 2d at 516–17. Accordingly, as the Court lacks subject-matter

                                            jurisdiction over Counts II and III of the Complaint, those Counts should be dismissed.



                                                                                                  8
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 27 of 127 PageID #:30



                                            C.      Plaintiff fails to state a cause of action for IIED and thus Count III should be
                                                    dismissed (Dismissal pursuant to 2-615).
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                    Defendant Cooney is filing a motion to dismiss concurrently with this motion. In her

                                            motion, she asserts that Plaintiff has failed to state a cause of action for IIED and that Count IV

                                            (IIED v. Cooney only) should be dismissed pursuant to 735 ILCS 5/2-615. The paragraphs in

                                            Count III (IIED vs. City) are nearly identical to the paragraphs in Count IV (compare Ex. 1, ¶44

                                            with ¶85, ¶45 with ¶86, ¶46 with ¶87, ¶47 with ¶88). The City adopts Defendant Cooney’s

                                            arguments (§ IV.B. (pp. 4-7)) and moves that this Court dismiss Count III of Plaintiff’s complaint

                                            for failure to state a cause of action for IIED.

                                            D.      The Chicago Police Department is not a suable entity (Dismissal pursuant to 2-
                                                    619(a)(9)).

                                                    While Plaintiff does not direct any allegations towards the Chicago Police Department

                                            (“CPD”), Plaintiff does name CPD as a separate defendant in the Complaint’s caption. The Court

                                            should dismiss CPD from the case and strike references to CPD from the caption as CPD is “an

                                            organizational division of the City and therefore not a separate suable entity.” Johnston v. United States

                                            Attorney's Office for N. Dist. of Illinois, 21-CV-1057, 2021 WL 860356, at *3 (N.D. Ill. Mar. 8,

                                            2021)(quoting Smith v. City of Chicago Police Dept., 937 F.2d 610 (7th Cir. 1991)). The Illinois Supreme

                                            Court has also noted that the Chicago Police Department is not a distinct legal entity apart from the

                                            City. Ferguson v. Patton, 2013 IL 112488, ¶ 30 (“[CPD is] merely a department of the City which does

                                            not have separate legal existence”)(citing Jordan v. City of Chicago, Department of Police, 505 F.Supp. 1, 4

                                            (N.D. Ill. 1980)). See Ferguson, 2013 IL 112488, ¶ 30 (collecting cases finding that departments of the

                                            City are not distinct legal entities and have “no legal status separate and apart from the City.”) Thus,

                                            CPD should be dismissed from this case.




                                                                                                  9
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 28 of 127 PageID #:31



                                            E.      The City is Immune from punitive damages (Dismissal pursuant to 2-619(a)(9)).

                                                    All three of Plaintiff’s claims against the City (Counts I, II and III) seek punitive damages in
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            the “Wherefore” paragraphs. However, the Tort Immunity Act immunizes the City from punitive

                                            damages: “Notwithstanding any other provision of law, a local public entity is not liable to pay

                                            punitive or exemplary damages in any action brought directly or indirectly against it by the injured

                                            party or a third party.” 745 ILCS 10/2-102. The portions of the prayers for relief in Counts I, II and

                                            III seeking punitive damages against the City should be dismissed.

                                                                                      V.      CONCLUSION

                                                    For these reasons, the City requests the Court dismiss Counts I, II and III with prejudice

                                            and dismiss the City from this matter. The City further requests the Court dismiss CPD from this

                                            matter as a non-suable entity. Finally, in the alternative, the City requests the Court strike Plaintiff’s

                                            prayer for punitive damages from Counts I, II and III.

                                             Dated: October 1, 2021                                  Respectfully submitted,

                                                                                                     CELIA MEZA
                                                                                                     Corporation Counsel of the City of Chicago

                                             Attorney No.: 90909                                     By: s/ Scott Crouch
                                             City of Chicago, Department of Law                      SCOTT CROUCH
                                             Employment Litigation Division                          Assistant Corporation Counsel
                                             2 North LaSalle Street, Suite 640
                                             Chicago, Illinois 60602
                                             Scott.Crouch@cityofchicago.org
                                             (312) 744-8369

                                             Counsel for Defendant City of Chicago




                                                                                                10
                      Hearing Date: NoCase:
                                       hearing1:22-cv-00173
                                               scheduled     Document   #: 1-1 Filed: 01/11/22 Page 29 of 127 PageID #:32
                      Courtroom Number: No hearing scheduled
                      Location: No hearing scheduled
                                                                                                               FILED
                                                                                                               10/1/2021 2:54 PM
                                                                                                               IRIS Y. MARTINEZ
                                                                                                               CIRCUIT CLERK
                                                                                                               COOK COUNTY, IL
FILED DATE: 10/1/2021 2:54 PM 2021L006834




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                                                                 City of Chicago MTD Exhibit 1
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 30 of 127 PageID #:33
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 31 of 127 PageID #:34
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 32 of 127 PageID #:35
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 33 of 127 PageID #:36
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 34 of 127 PageID #:37
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 35 of 127 PageID #:38
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 36 of 127 PageID #:39
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 37 of 127 PageID #:40
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 38 of 127 PageID #:41
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 39 of 127 PageID #:42
FILED DATE: 10/1/2021 2:54 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 40 of 127 PageID #:43
FILED DATE: 10/1/2021 2:54 PM 2021L006834
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FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                      CASENO CPLAST HB L tr.docm




                                                  May 24, 2021

                                                  Brian Postrelko

                                                  Chicago, IL




                                                  Re: Brian Postrelko v. Chicago Police Department                                        #210524.012


                                                  Dear Complainant:
                                                  You are receiving this letter because you filed a charge with the United States Equal Employment Opportunity Commission
                                                  (EEOC). The EEOC and the Illinois Department of Human Rights (Department) are parties to a cooperative agreement. Under
                                                  this agreement, when you filed your charge of discrimination with the EEOC, a copy of the charge was automatically filed with
                                                  the Department. The Department is keeping a copy of your EEOC charge on file to preserve jurisdiction under Illinois law.
                                                  Since you filed your discrimination charge initially with the EEOC, the EEOC is the governmental agency responsible for
                                                  investigating the charge and the investigation will be conducted pursuant to the rules and procedures adopted by the EEOC.
                                                  The Department will take no action on your charge until the EEOC issues its findings. After the EEOC issues its findings, if
                                                  you want the Department to take any further action on your charge, you must send the Department a copy of the EEOC’s findings
                                                  within 30 days after service of the EEOC’s findings on you. Please also send a one sentence written statement requesting that
                                                  the Department investigate your charge and include the above Control Number. You may submit a copy of the EEOC’s findings
                                                  by either of the following methods:
                                                  By Mail:    Send your EEOC findings and written statement via U.S. Postal certified mail, return receipt requested, to: Illinois
                                                  Department of Human Rights, Attn: EEOC Referred Charges/Intake Unit, 100 W. Randolph St., Ste. 10-100, Chicago, IL 60601.
                                                  In Person: Bring an original and one copy of your EEOC findings and written statement to the Department. The Department
                                                  will stamp and return the copies to you for your records.
                                                  If you received the EEOC’s findings prior to receipt of this letter, you have 30 days from the date of this letter to send the
                                                  Department a copy of the EEOC’s findings. Upon receipt of the EEOC’s findings, the Department will mail you a notice as to
                                                  what further action the Department may take on your charge.
                                                  The 365-day time period for the Department to investigate your EEOC charge is tolled while the EEOC is investigating your
                                                  charge and does not begin to run until the EEOC issues its findings. Your failure to timely provide the EEOC’s findings to the
                                                  Department will result only in the Department closing your file. This process does not affect the investigation of your charge
                                                  at EEOC. If you do not wish to proceed with the Department, you do not need to take any further action.
                                                  This letter does not apply to any settlement of this charge the parties have made with the EEOC.
                                                  If you have any questions, please contact Thomas F. Roeser, Pre-Investigations Coordinator, at (312) 814-6295. Please
                                                  do not contact the EEOC.


                                                  ILLINOIS DEPARTMENT OF HUMAN RIGHTS.
                                                                                                                                                                                                                   PRE1-EEOC 30
                                                                                                                                                                                                                        Rev 8/18

                                                                                      100 West Randolph Street, Suite 10-100, Chicago, IL 60601, (312) 814-6200, TTY (866) 740-3953, Housing Line (800) 662-3942
                                                                                                                    2309 West Jefferson Street, Springfield, IL 62702, (217) 785-5100
                                                                                                                        2309 West Main Street, Marion, IL 62959 (618) 993-7463
                                                                                                                                           www.illinois.gov/dhr



                                            CC:    Chicago Police Department, C/O Eileen Geary
                                                   2 N. LaSalle St., Suite 660
                                                   Chicago, IL 60602


                                                                                                                          City of Chicago MTD Exhibit 2                                                 Page 1 of 5
                                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 42 of 127 PageID #:45
                                                                                                                                                                         210524.012
                                            EEOC Form 5 (11/09)

                                                                                                                                                                         Agency(ies) Charge
                                                                  CHARGE OF DISCRIMINATION                                             Charge Presented To:
                                                                                                                                                                         No(s):
                                                   This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                   FEPA
                                                          Statement and other information before completing this form.
                                                                                                                                           X EEOC                        440-2021-02528
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                                                      ILLINOIS DEPARTMENT OF HUMAN RIGHTS                                                             and EEOC
                                                                                                           State or local Agency, if any
                                            Name (indicate Mr., Ms., Mrs.)                                                                              Home Phone                  Year of Birth

                                            MR. BRIAN POSTRELKO                                                                                                                       1977
                                            Street Address                                                         City, State and ZIP Code

                                                                                                                    CHICAGO,IL

                                            Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
                                            That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
                                            Name                                                                                                No. Employees, Members            Phone No.

                                            CHICAGO POLICE DEPARTMENT                                                                                  501+                (312) 746-6000
                                            Street Address                                                         City, State and ZIP Code

                                            3510 SOUTH MICHIGAN AVENUE, CHICAGO, IL 60653

                                            Name                                                                                                No. Employees, Members            Phone No.



                                            Street Address                                                         City, State and ZIP Code




                                            DISCRIMINATION BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                                              Earliest             Latest
                                                     RACE              COLOR          X    SEX             RELIGION             NATIONAL ORIGIN          01-29-2021              04-06-2021
                                                    X    RETALIATION                 AGE         DISABILITY               GENETIC INFORMATION

                                                                   OTHER (Specify)                                                                                       CONTINUING ACTION

                                            THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
                                             I began my employment with Respondent on or about October 31, 2005. My current position
                                             is Police Officer. During my employment, I have been subjected to sexual harassment. I was
                                             also subjected to different terms and conditions of employment, including but not limited to,
                                             harsher work assignments. I complained to Respondent.

                                             I believe I have been discriminated against because of my sex, male, and in retaliation for
                                             engaging in a protected activity, in violation of Title VII of the Civil Rights Act of 1964, as
                                             amended.


                                                                                                                                                           May 24, 2021




                                            I want this charge filed with both the EEOC and the State or local Agency,          NOTARY – When necessary for State and Local Agency Requirements
                                            if any. I will advise the agencies if I change my address or phone number
                                            and I will cooperate fully with them in the processing of my charge in
                                            accordance with their procedures.                                                   I swear or affirm that I have read the above charge and that it
                                            I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                                                                SIGNATURE OF COMPLAINANT



                                                Digitally signed by Brian Postrelko on 05-12-2021                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                  02:00 PM EDT                                                  (month, day, year)




                                                                                                                                                                           Page 2 of 5
                                                     Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 43 of 127 PageID #:46
                                            CP Enclosure with EEOC Form 5 (11/09)

                                            PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
                                            request personal data and its uses are:

                                            1.     FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            2.     AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
                                            2000ff-6.

                                            3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
                                            reduced to writing (whether later recorded on this form or not) are, as applicable
                                            under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
                                            rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
                                            filing or referral arrangements exist, to begin state or local proceedings.

                                            4. ROUTINE USES. This form is used to provide facts that may establish the
                                            existence of matters covered by the EEOC statutes (and as applicable, other federal,
                                            state or local laws). Information given will be used by staff to guide its mediation and
                                            investigation efforts and, as applicable, to determine, conciliate and litigate claims of
                                            unlawful discrimination. This form may be presented to or disclosed to other federal,
                                            state or local agencies as appropriate or necessary in carrying out EEOC's functions.
                                            A copy of this charge will ordinarily be sent to the respondent organization against
                                            which the charge is made.

                                            5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges
                                            must be reduced to writing and should identify the charging and responding parties
                                            and the actions or policies complained of. Without a written charge, EEOC will
                                            ordinarily not act on the complaint. Charges under Title VII, the ADA or GINA must be
                                            sworn to or affirmed (either by using this form or by presenting a notarized statement
                                            or unsworn declaration under penalty of perjury); charges under the ADEA should
                                            ordinarily be signed. Charges may be clarified or amplified later by amendment. It is
                                            not mandatory that this form be used to make a charge.

                                                                   NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

                                            Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
                                            files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
                                            filed at EEOC may also be first handled by a FEPA under worksharing agreements.
                                            You will be told which agency will handle your charge. When the FEPA is the first to
                                            handle the charge, it will notify you of its final resolution of the matter. Then, if you
                                            wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
                                            ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
                                            will ordinarily adopt the FEPA's finding and close our file on the charge.

                                                                              NOTICE OF NON-RETALIATION REQUIREMENTS

                                            Please notify EEOC or the state or local agency where you filed your charge if
                                            retaliation is taken against you or others who oppose discrimination or
                                            cooperate in any investigation or lawsuit concerning this charge. Under Section
                                            704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
                                            207(f) of GINA, it is unlawful for an employer to discriminate against present or former
                                            employees or job applicants, for an employment agency to discriminate against
                                            anyone, or for a union to discriminate against its members or membership applicants,
                                            because they have opposed any practice made unlawful by the statutes, or because
                                            they have made a charge, testified, assisted, or participated in any manner in an
                                                                                                                                Page 3 of 5
                                                  Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 44 of 127 PageID #:47

                                            investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar
                                            provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
                                            interference with anyone for exercising or enjoying, or aiding or encouraging others in
                                            their exercise or enjoyment of, rights under the Act.
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                                                                                       Page 4 of 5
                                                         Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 45 of 127 PageID #:48
                                            EEOC Form 212-A (3/98)


                                                                                U.S. Equal Employment Opportunity Commission
                                                TO:              Illinois Department Of Human Rights                                               Date              May 24, 2021
                                                                 100 West Randolph Street                                                          EEOC Charge No.
                                                                 Floor 10-100                                                                                 440-2021-02528
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                                                 Chicago, IL 60601
                                                                                                                                                   FEPA Charge No.

                                            CHARGE TRANSMITTAL

                                            SUBJECT:
                                                                              Brian Postrelko                           v.                  CHICAGO POLICE DEPARTMENT
                                                                               Charging Party                                                              Respondent
                                            Transmitted herewith is a charge of employment discrimination initially received by the:
                                                                        EEOC                                                                                       on         May 12, 2021
                                                                                                                             Name of FEPA                                     Date of Receipt

                                                  X Pursuant to the worksharing agreement, this charge is to be initially investigated by the EEOC.

                                                      Pursuant to the worksharing agreement, this charge is to be initially investigated by the FEPA.


                                                      The worksharing agreement does not determine which agency is to initially investigate the charge.


                                                                       EEOC requests a waiver                                   FEPA waives


                                                                       No waiver requested                                      FEPA will investigate the charge initially

                                                                              Please complete the bottom portion of this form to acknowledge the receipt of the charge
                                                                              and, where appropriate, to indicate whether the Agency will initially investigate the charge.
                                            Typed Name and Title of EEOC or FEPA Official                                          Signature/Initials
                                                            Julianne Bowman, District Director                                                          Julianne Bowman/zb

                                                                         Brian Postrelko                                v.                  CHICAGO POLICE DEPARTMENT
                                                                          Charging Party                                                                   Respondent
                                              TO WHOM IT MAY CONCERN:

                                                      This will acknowledge receipt of the referenced charge and indicate this Agency’s intention to initially investigate the charge.

                                                      This will acknowledge receipt of the referenced charge and indicate this Agency’s intention not to initially investigate the charge.

                                                      This will acknowledge receipt of the referenced charge and request a waiver of initial investigation by the receiving agency.

                                                      This will acknowledge receipt of the referenced charge and indicate this Agency’s intention to dismiss/close/not docket the charge for the
                                                      following reasons:




                                            Typed Name and Title of EEOC or FEPA Official                                          Signature/Initials
                                                                     James L. Bennett, Director                                                         James L. Bennett/zb

                                            TO:                  Chicago District Office                                                           Date        May 24, 2021
                                                                 230 S. Dearborn                                                                   EEOC Charge No.
                                                                 Suite 1866                                                                               440-2021-02528
                                                                 Chicago, IL 60604                                                                 FEPA Charge No.




                                                                                                                                                                                  Page 5 of 5
                                                         Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 46 of 127 PageID #:49




                                                                                                       JB Pritzker, Governor
                                                                                                     James L. Bennett, Director
FILED DATE: 10/1/2021 2:54 PM 2021L006834




                                            September 20, 2021

                                            Via Email Only: Pamela.Buscemi@cityofchicago.org

                                            Pamela Buscemi, Paralegal II
                                            City of Chicago, Law Department
                                            Employment Litigation Division
                                            2 North LaSalle Street, Suite 640
                                            Chicago, IL 60602

                                            RE:     Freedom of Information Act Request (“FOIA”):
                                                    Brian Postrelko v. Chicago Police Department, EEOC Charge No. 440-2021-02528

                                            Dear Ms. Buscemi:

                                            On September 15, 2021, the Illinois Department of Human Rights (“Department”) received your FOIA request in which you
                                            requested a copy of the above-referenced investigation file.

                                            Section 2(c) of FOIA defines “public records” as including “all records, reports, forms, writings … and all other documentary
                                            materials pertaining to the transaction of public business … having been prepared by or for, or having been or being used
                                            by, received by, in possession of, or under the control of any public body.” 5 ILCS 140/2(c).

                                            The Department will provide you with a copy of the documentation it has in its possession related to the above-referenced
                                            matter. The Department’s records show that on May 12, 2021, Brian Postrelko (“Mr. Postrelko”), filed a charge of
                                            discrimination with the Equal Employment Opportunity Commission (“EEOC”), against the Chicago Police Department,
                                            which was cross-filed with the Department. Further, the Department’s records show that on May 24, 2021, the Department
                                            notified Mr. Postrelko, via U.S. mail, that to proceed with his charge before the Department he must notify the Department
                                            in writing within 30 days after receiving the EEOC’s findings. However, the Department’s records do not show that Mr.
                                            Postrelko notified the Department in writing of his intent to proceed before the Department. Therefore, the Department did
                                            not investigate Mr. Postrelko’s allegations and is unable to provide you with a copy of the above-referenced investigation
                                            file. The documentation is attached hereto.

                                            To the extent you consider this response to be a denial of your FOIA request, you have the right to submit a request for
                                            review by the Public Access Counselor (“PAC”) of the Office of the Illinois Attorney General to: Public Access Counselor,
                                            Office of the Attorney General, 500 South 2nd Street, Springfield, Illinois 62706, Fax: 217-782-1396, E-mail:
                                            publicaccess@atg.state.il.us. If you choose to submit a request for review, you must do so within 60 days after the date of
                                            this response letter. The request for review must be in writing, signed by you, and include a copy of your FOIA request and
                                            this office’s response. 5 ILCS 140/9.5(a). In addition, you have the right to seek judicial review of this response. 5 ILCS
                                            140/11(a), (b).

                                            Sincerely,




                                            Keisha T. Nelson
                                            Freedom of Information Act Officer



                                                             555 West Monroe Street, 7th Floor, Chicago, IL 60661, (312) 814-6200, TTY (866) 740-3953, Housing Line (800) 662-3942
                                                                                    535 West Jefferson St., 1st Floor, Springfield, IL 62702, (217) 785-5100
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                                                                                          City of Chicago MTD Exhibit 3
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 47 of 127 PageID #:50

                                                                                                                                     FILED
                                                                                                                                     10/1/2021 2:58 PM
                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                          IRIS Y. MARTINEZ
                                                                                                                                     CIRCUIT CLERK
                                                                    COUNTY DEPARTMENT, LAW DIVISION                                  COOK COUNTY, IL
                                                                                                                                    2021L006834
                                            BRIAN POSTRELKO,                                   )
                                                                                               )
                                                                   Plaintiff,                  )
                                                                                               )
                                                   v.                                          )       2021 L 006834
                                                                                               )
                                            CITY OF CHICAGO, a Municipal                       )       Honorable Daniel J. Kubasiak
                                            Corporation, POLICE DEPARTMENT,                    )
                                            and officer CARRIE A. COONEY,                      )       Commercial Calendar T
                                            individually, and as an agent and                  )
                                            employee of the CITY OF CHICAGO,                   )
                                                                                               )
                                                                   Defendants.                 )

                                             DEFENDANT COONEY’S PARTIAL MOTION TO DISMISS PURSUANT TO 2-619.1

                                                   Defendant, Carrie A. Cooney, through her attorney, CELIA MEZA, Corporation Counsel

                                            for the City of Chicago, moves to dismiss Count IV and VI of Plaintiff’s Complaint pursuant to 735
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                            ILCS 5/2-619.1. Defendant states the following in support of her motion.

                                                                                    I.      Introduction

                                                   Sgt. Carrie A. Cooney was Plaintiff’s supervisor in the Chicago Police Department for

                                            approximately three months in early 2021. Plaintiff alleges she sexually harassed him in violation of

                                            the Illinois Human Rights Act, 775 ILCS 5/2-102(D) (“IHRA”) (Count IV), engaged in unwanted

                                            touching of him that constituted battery (Count V) and engaged in “sexual advances” and

                                            “impermissible touching” that constituted an intentionally infliction of emotional distress (“IIED”)

                                            (Count VI). The Court should dismiss Plaintiff’s IHRA claim (Count IV) for failure to exhaust

                                            under Section 2-619. Additionally, Plaintiff fails to state a claim for IIED because the conducted

                                            described is not “extreme and outrageous,” and Plaintiff has failed to plead any facts to show his

                                            emotional distress was “severe.” Therefore, the Court should dismiss Count VI under 2-615.




                                                                                                                                    EXHIBIT E
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 48 of 127 PageID #:51



                                                                                      II.     Background

                                                    Plaintiff is a Police Officer with the Chicago Police Department (CPD). Plaintiff alleges that
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                            between January and March 2021, his then-supervisor, Defendant Sgt. Carrie Cooney, sexually

                                            harassed him. Plaintiff alleges Sgt. Cooney’s purported harassment took the following forms:

                                                -   Inappropriate unwanted sexual comments and advances towards Plaintiff, (Complaint
                                                    (“Comp.”) (attached as “Exhibit 1” or “Ex. 1”) at ¶¶4, 5);
                                                -   Taking a picture of Plaintiff’s buttocks without consent, (id. at ¶5);
                                                -   Pulling Plaintiff by his backpack without consent, (id.);
                                                -   Touching Plaintiff’s back and neck without his consent, (id.);
                                                -   “Graz[ing] up against [Plaintiff’s] buttocks and back without his consent,” (id.);
                                                -   Grabbing and fixing Plaintiff’s shirt collar without his consent, (id.);
                                                -   Violating social distancing protocols, (id.).
                                            Plaintiff also concludes that Defendant Cooney retaliated against him but does not specify what

                                            form the alleged retaliation took. (Id.) Plaintiff also alleges that Defendant Cooney “sexually

                                            discriminated” against him but fails to allege how. (Id.)

                                                    In Count IV of the Complaint, Plaintiff alleges Cooney, violated the IHRA’s prohibition on

                                            sexual harassment. (Id. at ¶ 58).

                                                    In Count V of the Complaint, Plaintiff alleges that the purported unwanted touching

                                            outlined in paragraph 5 of the Complaint constituted battery. (Id. at ¶ 73).

                                                    In Count VI of the Complaint, Plaintiff alleges the purported “inappropriate sexual advances

                                            and impermissible touching of the Plaintiff as set forth in Paragraph 5 [of the Complaint]”

                                            constituted IIED in violation of Illinois common law. (Id. at ¶¶ 85-86).

                                                    On May 12, 2021, Plaintiff cross-filed a charge of discrimination with the U.S. Equal

                                            Employment Opportunity Commission (“EEOC”) and the Illinois Department of Human Rights

                                            (“IDHR”). (Charge of Discrimination, Ex. 1-A). Pursuant to the cooperative agreement between the

                                            EEOC and IDHR, the EEOC conducted the initial investigation of Plaintiff’s charge. (A copy of




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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 49 of 127 PageID #:52



                                            the EEOC May 24, 2021 letter to the IDHR indicating the EEOC would conduct the initial

                                            investigation is part of the IDHR file attached hereto as “Exhibit 2” or “Ex. 2” at p. 5).
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                    On May 24, 2021, the IDHR sent Plaintiff a letter notifying him that the IDHR would take

                                            no further action on Plaintiff’s IDHR charge unless Plaintiff requested the IDHR do so after the

                                            EEOC issued its findings. (Ex. 2, p. 1). The IDHR’s letter to Plaintiff stated, in relevant part:

                                                    Since you filed your discrimination charge initially with the EEOC, the EEOC is the
                                                    governmental agency responsible for investigating the charge and the investigation
                                                    will be conducted pursuant to the rules and procedures adopted by the EEOC. The
                                                    Department will take no action on your charge until the EEOC issues its findings.
                                                    After the EEOC issues its findings, if you want the Department to take any
                                                    further action on your charge, you must send the Department a copy of the
                                                    EEOC’s findings within 30 days after service of the EEOC’s findings on you. .
                                                    ..

                                                    If you received the EEOC’s findings prior to receipt of this letter, you have 30 days
                                                    from the date of this letter to send the Department a copy of the EEOC’s findings.
                                                    Upon receipt of the EEOC’s findings, the Department will mail you a notice as to
                                                    what further action the Department may take on your charge. . . .

                                                    Your failure to timely provide the EEOC’s findings to the Department will result
                                                    only in the Department closing your file. . . . If you do not wish to proceed with the
                                                    Department, you do not need to take any further action.

                                            Id. The EEOC issued its findings to Plaintiff on May 24, 2021. (Ex. 1-B). Per the IDHR, Plaintiff

                                            never submitted the EEOC filings to the IDHR: “the [IDHR]’s records do not show that [Plaintiff]

                                            notified the Department in writing of his intent to proceed before the Department. Therefore, the

                                            Department did not investigate [Plaintiff’s] allegations . . . .” (September 20, 2021 Letter from the

                                            IDHR, “Exhibit 3” or “Ex. 3”). The IDHR never issued Plaintiff a right to sue letter. (See Ex. 2

                                            (entire IDHR file received via FOIA) and Ex. 3 (letter from the IDHR explaining charge was not

                                            investigated). Plaintiff filed suit on July 6, 2021.

                                                                                      III.    Legal Standard

                                                    A motion to dismiss pursuant to 735 ILCS 5/2-619 admits the sufficiency of all well-pleaded

                                            facts but argues for the dismissal of the complaint based on an affirmative matter defeating the claim



                                                                                                   3
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 50 of 127 PageID #:53



                                            or avoiding its legal effect. Janda v. United States Cellular Corp., 2011 IL App (1st) 103552, ¶ 83. A

                                            motion brought pursuant to section 2-619(a)(1) asserts “the court does not have jurisdiction of the
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                            subject matter of the action . . . .” 735 ILCS 5/2-619(a)(1). A motion brought pursuant to 2-

                                            619(a)(9) asserts “the claim asserted against defendant is barred by other affirmative matter avoiding

                                            the legal effect of or defeating the claim.” 735 ILCS 5/2-619(a)(9).

                                                    On the other hand, a motion to dismiss pursuant to 735 ILCS 5/2-615 tests the legal

                                            sufficiency of the complaint based on defects apparent on its face. Reynolds v. Jimmy John's Enterprises,

                                            LLC, 2013 IL App (4th) 120139, ¶ 25. A court on a Section 2-615 motion views the facts pled in the

                                            light most favorable to the plaintiff and determines if they are sufficient to state a cause of action

                                            upon which relief might be granted. Id. “[A] cause of action should not be dismissed pursuant to

                                            Section 2-615 unless it is clearly apparent that no set of facts can be proved that would entitle the

                                            plaintiff to recovery.” Id.

                                                                                       IV.      Argument

                                                                              Motion Pursuant to Section 2-619

                                            A.      Plaintiff’s IHRA claim against the Cooney (Count IV) should be dismissed as
                                                    Plaintiff failed to administratively exhaust his complaint with the IDHR.

                                                     Defendant Cooney hereby incorporates and adopts the reasons in Section IV.A. of the

                                             City’s Motion to Dismiss. (pp. 5-6). For the reasons set forth in the City’s Motion, the Court should

                                             dismiss Count IV against Cooney.

                                                                                   Motion Pursuant to 2-615

                                            B.      Plaintiff’s IIED claim should be dismissed pursuant to 2-615.

                                                    In order to state a cause of action for IIED, a plaintiff must adequately allege: “(1) the

                                            defendant's conduct was extreme and outrageous; (2) the defendant either intended to inflict severe

                                            emotional distress or knew that there was a high probability that its conduct would do so; and (3)

                                            the defendant's conduct actually caused severe emotional distress.” Welsh v. Commonwealth Edison


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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 51 of 127 PageID #:54



                                            Co., 306 Ill. App. 3d 148, 154 (1st Dist. 1999). As explained in the following sections, Plaintiff fails

                                            to meet all three prongs.
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                    1.      Plaintiff does not allege facts showing Cooney’s conduct was objectively
                                                            extreme and outrageous and cannot show Cooney intended to inflict distress
                                                            or knew there was a high probability that her alleged conduct would do so.

                                                    Whether conduct is extreme and outrageous is evaluated on an objective standard based on

                                            all of the facts and circumstances. McGrath v. Fahey, 126 Ill.2d 78, 90 (1988). The Illinois Supreme

                                            Court has indicated that “mere insults, indignities, threats, annoyances, petty oppressions or

                                            trivialities” do not constitute extreme and outrageous conduct. Public Finance Corp. v. Davis, 66 Ill.2d

                                            85, 89-90 (1976). “Rather, the nature of the defendant's conduct must be so extreme as to go

                                            beyond all possible bounds of decency, and to be regarded as intolerable in a civilized community.”

                                            Kolegas v. Heftel Broadcasting Corp., 154 Ill. 2d 1, 21 (1992). In determining whether conduct is

                                            outrageous and extreme, the court uses an objective standard based on all the facts and

                                            circumstances of the case. Duffy v. Orlan Brook Condominium Owners’ Ass’n, 2012 IL (1st) 113577, ¶ 36.

                                            Here, the conduct alleged, including pulling Plaintiff’s backpack, “grazing upon his buttocks,” taking

                                            a picture of his buttocks and fixing his shirt collar, are not extreme and outrageous to go beyond the

                                            bounds of human decency. Ex. 1, ¶5.

                                                    In Welsh, plaintiffs alleged that they were demoted, transferred, forced to perform

                                            “demeaning” and “humiliating” tasks, harassed, intimidated, and threatened with termination by

                                            their employer. 306 Ill. App. 3d at 154. The court ruled that “in the absence of conduct calculated to

                                            coerce an employee to do something illegal” an employer’s retaliatory conduct is not enough to give

                                            rise to and IIED claim. Id. The court noted that if stress and anxiety resulting from discipline, job

                                            transfers and terminations was enough for an action for IIED, then “virtually” every employee

                                            would have a cause of action. Id. Here, Plaintiff is not even alleging actions such as demotions or




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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 52 of 127 PageID #:55



                                            terminations or threats from Cooney. Thus, the alleged actions do not rise to the level of extreme

                                            and outrageous conduct.
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                    Additionally, the Illinois Appellate Court has found that allegations objectively worse than

                                            those found in the instant case do not rise to the level of extreme and outrageous conduct. In Miller

                                            v. Equitable Life Assur. Soc. of the U.S., 181 Ill. App. 3d 954, 956 (1st Dist. 1989), the plaintiff, an

                                            insurance sales representative, was subjected to repeated threats of physical harm, continuous threats

                                            of termination, denial of job transfers, and she was prohibited from seeking police assistance when a

                                            colleague hit her and threw coffee at her. 129 Ill. App. 3d at 955-56. Additionally, her employer

                                            refused to forward her mail to her and falsely told her clients she no longer worked there while she

                                            was out recovering from a car crash. Id. at 956. Her supervisors repeatedly told her to use sex to

                                            make insurance sales. Id. One supervisor touched her breast, shoulders and head. Id. Another told

                                            her that he “wanted her.” Id. Finally, she alleged she was fired in retaliation for reporting a

                                            fraudulent insurance application and for reporting illegal kickbacks. Id.

                                                    The circuit court dismissed the Plaintiff’s complaint for failure to state a cause of action,

                                            holding that the plaintiff could not recover for IIED as the conduct was not extreme and

                                            outrageous as a matter of law. The First District affirmed, holding:

                                                    for approximately three and one-half years [the plaintiff] was surrounded by supervisors and
                                                    co-workers who were inconsiderate, rude, vulgar, uncooperative, unprofessional and unfair.
                                                    While we do not condone such behavior, we do not believe that the conduct alleged is so
                                                    outrageous in character and so extreme in degree as to go beyond all bounds of human
                                                    decency. The fact that [the plaintiff] alleges that she was a victim of sexual harassment,
                                                    battery, and retaliatory discharge does not necessarily mean that she has a cause of action for
                                                    intentional infliction of emotional distress.

                                            Id. at 957.

                                                    Here, the alleged acts took place over less than a three-month period, nowhere near 3.5 years

                                            the plaintiff in Miller endured. Ex. 1, ¶5. Additionally, the conduct alleged in Miller was more extreme

                                            than the conduct alleged here: grabbing Plaintiff’s backpack, fixing Plaintiff’s collar, taking a picture



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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 53 of 127 PageID #:56



                                            of his buttocks, “[g]raz[ing] up against [Plaintiff’s] buttocks and back without his consent,” and

                                            making unspecified “advances” towards him. As the more severe conduct in Miller could not state a
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                            claim for IIED, the Court should similarly find Plaintiff’s allegations here insufficient to state a claim

                                            for IIED.

                                                    It is axiomatic that if the alleged conduct is not severe and outrageous, then Plaintiff cannot

                                            meet the second prong, that “the defendant either intended to inflict severe emotional distress or

                                            knew that there was a high probability that its conduct would do so.” Welsh, 306 Ill. App. 3d at 154.

                                            Thus, Plaintiff has failed to establish the first and second prongs for IIED and Count VI should be

                                            dismissed.

                                                    2.      Plaintiff has not sufficiently plead that he experienced severe emotional
                                                            distress.

                                                    Plaintiff has included only a conclusory allegation that the emotional distress he suffered was

                                            “severe” without alleging any facts in support. Emotional distress alone is not sufficient to give rise

                                            to a cause of action for IIED. Taliani v. Ressurection, 2018 IL App (3d) 160327, ¶ 27. To be actionable,

                                            the distress inflicted must be so severe that no reasonable person could be expected to endure it. Id.

                                            Here, plaintiff conclusory claimed, without elaboration, that he suffered “severe emotional distress”.

                                            Ex. 1, ¶ 87.See Obolumani v. Young, 2015 Il App (1st) 141930-U, p 47 (granting 615 motion because

                                            the plaintiff did not allege facts to show distress “so severe or long lasting that no reasonable man

                                            could be expected to endure it” when plaintiff only pled he had sleepless nights, cried and withdrew

                                            from his family; see also, Thompson v. N.J., 2016 Il App (1st) 142918, ¶28 (“Illinois is a fact pleading

                                            state; conclusions of law and conclusory allegations unsupported by specific facts are not sufficient

                                            to survive dismissal”). Thus, Plaintiff has not sufficiently pled a cause of action for IIED, and this

                                            Court should dismiss his claim pursuant to 2-615.

                                                                                      V.      Conclusion

                                                    For these reasons, the Court should dismiss Counts IV and VI of Plaintiff’s Complaint.


                                                                                                7
                                             Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 54 of 127 PageID #:57



                                            Dated: October 1, 2021                       Respectfully submitted,

                                                                                         CELIA MEZA
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                                                         Corporation Counsel of the City of Chicago

                                            Attorney No.: 90909                          By: s/ Jessica R. Durkin
                                            City of Chicago, Department of Law           JESSICA R. DURKIN
                                            Employment Litigation Division
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                                            Chicago, Illinois 60602
                                            Jessica.Durkin@cityofchicago.org
                                            (312) 744-2836

                                            Counsel for Defendant Carrie A. Cooney




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                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 55 of 127 PageID #:58
FILED DATE: 10/1/2021 2:58 PM 2021L006834




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                                                                                                                 CIRCUIT CLERK
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                                                                                                                   2021L006834




                                                                      City of Chicago MTD Exhibit 1
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 56 of 127 PageID #:59
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 57 of 127 PageID #:60
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 58 of 127 PageID #:61
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 59 of 127 PageID #:62
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 60 of 127 PageID #:63
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 61 of 127 PageID #:64
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 62 of 127 PageID #:65
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 63 of 127 PageID #:66
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 64 of 127 PageID #:67
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 65 of 127 PageID #:68
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 66 of 127 PageID #:69
FILED DATE: 10/1/2021 2:58 PM 2021L006834
                                                                                   Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 67 of 127 PageID #:70




                                                                                                                                   JB Pritzker, Governor
                                                                                                                                 James L. Bennett, Director
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                      CASENO CPLAST HB L tr.docm




                                                  May 24, 2021

                                                  Brian Postrelko

                                                  Chicago, IL




                                                  Re: Brian Postrelko v. Chicago Police Department                                        #210524.012


                                                  Dear Complainant:
                                                  You are receiving this letter because you filed a charge with the United States Equal Employment Opportunity Commission
                                                  (EEOC). The EEOC and the Illinois Department of Human Rights (Department) are parties to a cooperative agreement. Under
                                                  this agreement, when you filed your charge of discrimination with the EEOC, a copy of the charge was automatically filed with
                                                  the Department. The Department is keeping a copy of your EEOC charge on file to preserve jurisdiction under Illinois law.
                                                  Since you filed your discrimination charge initially with the EEOC, the EEOC is the governmental agency responsible for
                                                  investigating the charge and the investigation will be conducted pursuant to the rules and procedures adopted by the EEOC.
                                                  The Department will take no action on your charge until the EEOC issues its findings. After the EEOC issues its findings, if
                                                  you want the Department to take any further action on your charge, you must send the Department a copy of the EEOC’s findings
                                                  within 30 days after service of the EEOC’s findings on you. Please also send a one sentence written statement requesting that
                                                  the Department investigate your charge and include the above Control Number. You may submit a copy of the EEOC’s findings
                                                  by either of the following methods:
                                                  By Mail:    Send your EEOC findings and written statement via U.S. Postal certified mail, return receipt requested, to: Illinois
                                                  Department of Human Rights, Attn: EEOC Referred Charges/Intake Unit, 100 W. Randolph St., Ste. 10-100, Chicago, IL 60601.
                                                  In Person: Bring an original and one copy of your EEOC findings and written statement to the Department. The Department
                                                  will stamp and return the copies to you for your records.
                                                  If you received the EEOC’s findings prior to receipt of this letter, you have 30 days from the date of this letter to send the
                                                  Department a copy of the EEOC’s findings. Upon receipt of the EEOC’s findings, the Department will mail you a notice as to
                                                  what further action the Department may take on your charge.
                                                  The 365-day time period for the Department to investigate your EEOC charge is tolled while the EEOC is investigating your
                                                  charge and does not begin to run until the EEOC issues its findings. Your failure to timely provide the EEOC’s findings to the
                                                  Department will result only in the Department closing your file. This process does not affect the investigation of your charge
                                                  at EEOC. If you do not wish to proceed with the Department, you do not need to take any further action.
                                                  This letter does not apply to any settlement of this charge the parties have made with the EEOC.
                                                  If you have any questions, please contact Thomas F. Roeser, Pre-Investigations Coordinator, at (312) 814-6295. Please
                                                  do not contact the EEOC.


                                                  ILLINOIS DEPARTMENT OF HUMAN RIGHTS.
                                                                                                                                                                                                                   PRE1-EEOC 30
                                                                                                                                                                                                                        Rev 8/18

                                                                                      100 West Randolph Street, Suite 10-100, Chicago, IL 60601, (312) 814-6200, TTY (866) 740-3953, Housing Line (800) 662-3942
                                                                                                                    2309 West Jefferson Street, Springfield, IL 62702, (217) 785-5100
                                                                                                                        2309 West Main Street, Marion, IL 62959 (618) 993-7463
                                                                                                                                           www.illinois.gov/dhr



                                            CC:    Chicago Police Department, C/O Eileen Geary
                                                   2 N. LaSalle St., Suite 660
                                                   Chicago, IL 60602


                                                                                                                          City of Chicago MTD Exhibit 2                                                 Page 1 of 5
                                                            Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 68 of 127 PageID #:71
                                                                                                                                                                         210524.012
                                            EEOC Form 5 (11/09)

                                                                                                                                                                         Agency(ies) Charge
                                                                  CHARGE OF DISCRIMINATION                                             Charge Presented To:
                                                                                                                                                                         No(s):
                                                   This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                   FEPA
                                                          Statement and other information before completing this form.
                                                                                                                                           X EEOC                        440-2021-02528
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                                                      ILLINOIS DEPARTMENT OF HUMAN RIGHTS                                                             and EEOC
                                                                                                           State or local Agency, if any
                                            Name (indicate Mr., Ms., Mrs.)                                                                              Home Phone                  Year of Birth

                                            MR. BRIAN POSTRELKO                                                                                                                       1977
                                            Street Address                                                         City, State and ZIP Code

                                                                                                                    CHICAGO,IL

                                            Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
                                            That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
                                            Name                                                                                                No. Employees, Members            Phone No.

                                            CHICAGO POLICE DEPARTMENT                                                                                  501+                (312) 746-6000
                                            Street Address                                                         City, State and ZIP Code

                                            3510 SOUTH MICHIGAN AVENUE, CHICAGO, IL 60653

                                            Name                                                                                                No. Employees, Members            Phone No.



                                            Street Address                                                         City, State and ZIP Code




                                            DISCRIMINATION BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                                              Earliest             Latest
                                                     RACE              COLOR          X    SEX             RELIGION             NATIONAL ORIGIN          01-29-2021              04-06-2021
                                                    X    RETALIATION                 AGE         DISABILITY               GENETIC INFORMATION

                                                                   OTHER (Specify)                                                                                       CONTINUING ACTION

                                            THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
                                             I began my employment with Respondent on or about October 31, 2005. My current position
                                             is Police Officer. During my employment, I have been subjected to sexual harassment. I was
                                             also subjected to different terms and conditions of employment, including but not limited to,
                                             harsher work assignments. I complained to Respondent.

                                             I believe I have been discriminated against because of my sex, male, and in retaliation for
                                             engaging in a protected activity, in violation of Title VII of the Civil Rights Act of 1964, as
                                             amended.


                                                                                                                                                           May 24, 2021




                                            I want this charge filed with both the EEOC and the State or local Agency,          NOTARY – When necessary for State and Local Agency Requirements
                                            if any. I will advise the agencies if I change my address or phone number
                                            and I will cooperate fully with them in the processing of my charge in
                                            accordance with their procedures.                                                   I swear or affirm that I have read the above charge and that it
                                            I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                                                                SIGNATURE OF COMPLAINANT



                                                Digitally signed by Brian Postrelko on 05-12-2021                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                  02:00 PM EDT                                                  (month, day, year)




                                                                                                                                                                           Page 2 of 5
                                                     Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 69 of 127 PageID #:72
                                            CP Enclosure with EEOC Form 5 (11/09)

                                            PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
                                            request personal data and its uses are:

                                            1.     FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                            2.     AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
                                            2000ff-6.

                                            3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
                                            reduced to writing (whether later recorded on this form or not) are, as applicable
                                            under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
                                            rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
                                            filing or referral arrangements exist, to begin state or local proceedings.

                                            4. ROUTINE USES. This form is used to provide facts that may establish the
                                            existence of matters covered by the EEOC statutes (and as applicable, other federal,
                                            state or local laws). Information given will be used by staff to guide its mediation and
                                            investigation efforts and, as applicable, to determine, conciliate and litigate claims of
                                            unlawful discrimination. This form may be presented to or disclosed to other federal,
                                            state or local agencies as appropriate or necessary in carrying out EEOC's functions.
                                            A copy of this charge will ordinarily be sent to the respondent organization against
                                            which the charge is made.

                                            5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges
                                            must be reduced to writing and should identify the charging and responding parties
                                            and the actions or policies complained of. Without a written charge, EEOC will
                                            ordinarily not act on the complaint. Charges under Title VII, the ADA or GINA must be
                                            sworn to or affirmed (either by using this form or by presenting a notarized statement
                                            or unsworn declaration under penalty of perjury); charges under the ADEA should
                                            ordinarily be signed. Charges may be clarified or amplified later by amendment. It is
                                            not mandatory that this form be used to make a charge.

                                                                   NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

                                            Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
                                            files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
                                            filed at EEOC may also be first handled by a FEPA under worksharing agreements.
                                            You will be told which agency will handle your charge. When the FEPA is the first to
                                            handle the charge, it will notify you of its final resolution of the matter. Then, if you
                                            wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
                                            ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
                                            will ordinarily adopt the FEPA's finding and close our file on the charge.

                                                                              NOTICE OF NON-RETALIATION REQUIREMENTS

                                            Please notify EEOC or the state or local agency where you filed your charge if
                                            retaliation is taken against you or others who oppose discrimination or
                                            cooperate in any investigation or lawsuit concerning this charge. Under Section
                                            704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
                                            207(f) of GINA, it is unlawful for an employer to discriminate against present or former
                                            employees or job applicants, for an employment agency to discriminate against
                                            anyone, or for a union to discriminate against its members or membership applicants,
                                            because they have opposed any practice made unlawful by the statutes, or because
                                            they have made a charge, testified, assisted, or participated in any manner in an
                                                                                                                                Page 3 of 5
                                                  Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 70 of 127 PageID #:73

                                            investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar
                                            provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
                                            interference with anyone for exercising or enjoying, or aiding or encouraging others in
                                            their exercise or enjoyment of, rights under the Act.
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                                                                                       Page 4 of 5
                                                         Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 71 of 127 PageID #:74
                                            EEOC Form 212-A (3/98)


                                                                                U.S. Equal Employment Opportunity Commission
                                                TO:              Illinois Department Of Human Rights                                               Date              May 24, 2021
                                                                 100 West Randolph Street                                                          EEOC Charge No.
                                                                 Floor 10-100                                                                                 440-2021-02528
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                                                 Chicago, IL 60601
                                                                                                                                                   FEPA Charge No.

                                            CHARGE TRANSMITTAL

                                            SUBJECT:
                                                                              Brian Postrelko                           v.                  CHICAGO POLICE DEPARTMENT
                                                                               Charging Party                                                              Respondent
                                            Transmitted herewith is a charge of employment discrimination initially received by the:
                                                                        EEOC                                                                                       on         May 12, 2021
                                                                                                                             Name of FEPA                                     Date of Receipt

                                                  X Pursuant to the worksharing agreement, this charge is to be initially investigated by the EEOC.

                                                      Pursuant to the worksharing agreement, this charge is to be initially investigated by the FEPA.


                                                      The worksharing agreement does not determine which agency is to initially investigate the charge.


                                                                       EEOC requests a waiver                                   FEPA waives


                                                                       No waiver requested                                      FEPA will investigate the charge initially

                                                                              Please complete the bottom portion of this form to acknowledge the receipt of the charge
                                                                              and, where appropriate, to indicate whether the Agency will initially investigate the charge.
                                            Typed Name and Title of EEOC or FEPA Official                                          Signature/Initials
                                                            Julianne Bowman, District Director                                                          Julianne Bowman/zb

                                                                         Brian Postrelko                                v.                  CHICAGO POLICE DEPARTMENT
                                                                          Charging Party                                                                   Respondent
                                              TO WHOM IT MAY CONCERN:

                                                      This will acknowledge receipt of the referenced charge and indicate this Agency’s intention to initially investigate the charge.

                                                      This will acknowledge receipt of the referenced charge and indicate this Agency’s intention not to initially investigate the charge.

                                                      This will acknowledge receipt of the referenced charge and request a waiver of initial investigation by the receiving agency.

                                                      This will acknowledge receipt of the referenced charge and indicate this Agency’s intention to dismiss/close/not docket the charge for the
                                                      following reasons:




                                            Typed Name and Title of EEOC or FEPA Official                                          Signature/Initials
                                                                     James L. Bennett, Director                                                         James L. Bennett/zb

                                            TO:                  Chicago District Office                                                           Date        May 24, 2021
                                                                 230 S. Dearborn                                                                   EEOC Charge No.
                                                                 Suite 1866                                                                               440-2021-02528
                                                                 Chicago, IL 60604                                                                 FEPA Charge No.




                                                                                                                                                                                  Page 5 of 5
                                                         Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 72 of 127 PageID #:75




                                                                                                       JB Pritzker, Governor
                                                                                                     James L. Bennett, Director
FILED DATE: 10/1/2021 2:58 PM 2021L006834




                                            September 20, 2021

                                            Via Email Only: Pamela.Buscemi@cityofchicago.org

                                            Pamela Buscemi, Paralegal II
                                            City of Chicago, Law Department
                                            Employment Litigation Division
                                            2 North LaSalle Street, Suite 640
                                            Chicago, IL 60602

                                            RE:     Freedom of Information Act Request (“FOIA”):
                                                    Brian Postrelko v. Chicago Police Department, EEOC Charge No. 440-2021-02528

                                            Dear Ms. Buscemi:

                                            On September 15, 2021, the Illinois Department of Human Rights (“Department”) received your FOIA request in which you
                                            requested a copy of the above-referenced investigation file.

                                            Section 2(c) of FOIA defines “public records” as including “all records, reports, forms, writings … and all other documentary
                                            materials pertaining to the transaction of public business … having been prepared by or for, or having been or being used
                                            by, received by, in possession of, or under the control of any public body.” 5 ILCS 140/2(c).

                                            The Department will provide you with a copy of the documentation it has in its possession related to the above-referenced
                                            matter. The Department’s records show that on May 12, 2021, Brian Postrelko (“Mr. Postrelko”), filed a charge of
                                            discrimination with the Equal Employment Opportunity Commission (“EEOC”), against the Chicago Police Department,
                                            which was cross-filed with the Department. Further, the Department’s records show that on May 24, 2021, the Department
                                            notified Mr. Postrelko, via U.S. mail, that to proceed with his charge before the Department he must notify the Department
                                            in writing within 30 days after receiving the EEOC’s findings. However, the Department’s records do not show that Mr.
                                            Postrelko notified the Department in writing of his intent to proceed before the Department. Therefore, the Department did
                                            not investigate Mr. Postrelko’s allegations and is unable to provide you with a copy of the above-referenced investigation
                                            file. The documentation is attached hereto.

                                            To the extent you consider this response to be a denial of your FOIA request, you have the right to submit a request for
                                            review by the Public Access Counselor (“PAC”) of the Office of the Illinois Attorney General to: Public Access Counselor,
                                            Office of the Attorney General, 500 South 2nd Street, Springfield, Illinois 62706, Fax: 217-782-1396, E-mail:
                                            publicaccess@atg.state.il.us. If you choose to submit a request for review, you must do so within 60 days after the date of
                                            this response letter. The request for review must be in writing, signed by you, and include a copy of your FOIA request and
                                            this office’s response. 5 ILCS 140/9.5(a). In addition, you have the right to seek judicial review of this response. 5 ILCS
                                            140/11(a), (b).

                                            Sincerely,




                                            Keisha T. Nelson
                                            Freedom of Information Act Officer



                                                             555 West Monroe Street, 7th Floor, Chicago, IL 60661, (312) 814-6200, TTY (866) 740-3953, Housing Line (800) 662-3942
                                                                                    535 West Jefferson St., 1st Floor, Springfield, IL 62702, (217) 785-5100
                                                                                           2309 West Main Street, Marion, IL 62959 (618) 993-7463
                                                                                                              www.illinois.gov/dhr


                                                                                          City of Chicago MTD Exhibit 3
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 73 of 127 PageID #:76




                                                                                 EXHIBIT F
                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 74 of 127 PageID #:77

                                                                                                                                         FILED
                                                                                                                                         11/16/2021 11:58 AM
                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                               IRIS Y. MARTINEZ
                                                                   COUNTY DEPARTMENT, LAW DIVISION                                       CIRCUIT CLERK
                                                                                                                                         COOK COUNTY, IL
FILED DATE: 11/16/2021 11:58 AM 2021L006834




                                                                                                                                         2021L006834
                                               BRIAN POSTRELKO,
                                                                                                                                         15618034
                                                                      Plaintiff,

                                               v.                                                       No.: 2021 L 006834

                                               CITY OF CHICAGO, a Municipal                             Commercial Calendar T
                                               Corporation, POLICE DEPARTMENT, and
                                               officer CARRIE A. COONEY, individually,                  Hon. Daniel J. Kubasiak
                                               and as an agent and employee of the CITY OF
                                               CHICAGO,

                                                                      Defendants.

                                                    DEFENDANTS’ AGREED MOTION TO STRIKE BRIEFING SCHEDULE AND
                                                         GRANT PLAINTIFF LEAVE TO FILE AMENDED COMPLAINT
                                                      The Defendants, City of Chicago and Carrie A. Cooney, through their attorney, CELIA

                                              MEZA, Corporation Counsel for the City of Chicago, move to strike the October 13, 2021 briefing

                                              schedule order and grant Plaintiff leave to file an amended complaint. Defendants state the

                                              following in support of their agreed motion.

                                                      1.     Plaintiff filed this lawsuit on July 6, 2021. Plaintiff is a current employee of the

                                              Defendant City of Chicago. Defendant Cooney was formerly Plaintiff’s supervisor.

                                                      2.     In his Complaint, Plaintiff alleges, inter alia, that the City of Chicago and Defendant

                                              Cooney engaged in acts of employment discrimination and retaliation in violation of the Illinois

                                              Human Rights Act, 775 ILCS 5/1-101, et seq.

                                                      3.     Defendants filed motions to dismiss pursuant to 735 ILCS 5/2-619.1 on October 1,

                                              2021.

                                                      4.     On October 13, 2021, The Court entered a briefing schedule order for the motions

                                              to dismiss. Plaintiff’s response briefs were due November 5, 2021, and Defendants’ reply briefs are




                                                                                                                                        EXHIBIT G
                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 75 of 127 PageID #:78



                                              currently due November 19, 2021. The matter is set for a clerk’s status on 8:45 a.m. on November

                                              21, 2021. (A copy of the October 13, 2021 order is attached as Exhibit 1).
FILED DATE: 11/16/2021 11:58 AM 2021L006834




                                                       5.       On November 5, 2021, Plaintiff timely filed responses to the motions to dismiss. In

                                              Plaintiff’s response to the City’s motion to dismiss, Plaintiff indicated, inter alia, that he inadvertently

                                              omitted a claim alleging Defendant City of Chicago violated Title VII of the Civil Rights Act of

                                              1964, 42 U.S.C. 2000e, et seq. Plaintiff requested leave to amend his complaint, stating:

                                                       In addition to responding to the Defendant’s Motion to Dismiss, the Plaintiff is
                                                       requesting leave to amend his Complaint to correct an inadvertent clerical error. The
                                                       Complaint at Law was filed pursuant to the EEOC’s Notice of Rights letter, as
                                                       evidenced by it being attached to and referenced in the Complaint at Law. As such,
                                                       the Complaint at Law was intended to allege the CITY OF CHICAGO violated both
                                                       the Illinois Human Rights Act as well as Title VII of the Civil Rights Act.

                                              Plaintiff’s Response to the City’s Motion to Dismiss (Ex. 2), p. 3.

                                                       6.       The undersigned attorneys do not object to Plaintiff’s request for leave to file an

                                              amended complaint.

                                                       7.       One of the undersigned attorneys spoke with Plaintiff’s counsel via phone on the

                                              morning of November 15, 2021. During the call, the parties agreed that to avoid wasting judicial

                                              resources and to expedite this matter’s resolution, it would be prudent to strike the remainder of the

                                              briefing schedule and permit Plaintiff to file an amended complaint.

                                                       8.       On November 16, 2021, the parties agreed to a proposed order, which Defendants

                                              are submitting to the Court concurrently with this motion.

                                                       Wherefore, the Defendants respectfully request this Court enter an agreed order:

                                                       1. Striking the October 13, 2021 briefing schedule order;

                                                       2. Striking the November 29, 2021, 8:45 a.m. clerk status;

                                                       3. Granting Plaintiff until December 15, 2021 to file an Amended Complaint;

                                                       4. Granting Defendants 30 days thereafter, or until January 14, 2022 to respond to the

                                                            Amended Complaint; and


                                                                                                        2
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 76 of 127 PageID #:79



                                                    5. Permitting Defendant Cooney and Defendant City of Chicago to withdraw their

                                                       Motions to Dismiss as moot, without prejudice.
FILED DATE: 11/16/2021 11:58 AM 2021L006834




                                              Dated: November 16, 2021                         Respectfully submitted,

                                                                                               CELIA MEZA
                                                                                               Corporation Counsel of the City of Chicago

                                              Attorney No.: 90909                              By: s/ Scott Crouch
                                              City of Chicago, Department of Law               SCOTT CROUCH
                                              Employment Litigation Division
                                              2 North LaSalle Street, Suite 640                By: s/ Jessica R. Durkin
                                              Chicago, Illinois 60602                          JESSICA R. DURKIN
                                              Jessica.Durkin@cityofchicago.org
                                              Scott.Crouch@cityofchicago.org                   Assistants Corporation Counsel
                                              (312) 744-2836|(312) 744-8369

                                              Counsel for Defendants




                                                                                           3
                                              Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 77 of 127 PageID #:80

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                                                                                                                  11/16/2021 12:36 PM
                                                                                                                  IRIS Y. MARTINEZ
                                                                                                                  CIRCUIT CLERK
                                                                                                                  COOK COUNTY, IL
FILED DATE: 11/16/2021 12:36 PM 2021L006834




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                                                              Exhibit 1
                                              Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 78 of 127 PageID #:81
FILED DATE: 11/16/2021 12:36 PM 2021L006834
                                              Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 79 of 127 PageID #:82

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                                                                                                                  IRIS Y. MARTINEZ
                                                                                                                  CIRCUIT CLERK
                                                                                                                  COOK COUNTY, IL
FILED DATE: 11/16/2021 11:58 AM 2021L006834




                                                                                                                  2021L006834

                                                                                                                  15618034




                                                              Exhibit 2
                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 80 of 127 PageID #:83

                                                                                                                                   FILED
                                                                                                                                   11/5/2021 4:42 PM
                                                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                      IRIS Y. MARTINEZ
                                                                                                                                   CIRCUIT CLERK
                                                                      COUNTY DEPARTMENT, LAW DIVISION                              COOK COUNTY, IL
                             PM 2021L006834




                                                                                                                                   2021L006834
                                              BRIAN POSTRELKO                               )
                                                                                            )
                                                                     Plaintiff,             )
                        4:42 AM




                                                                                            )
              11/5/202111:58




                                                     Vs.                                    )       No.: 21 L 6834
                                                                                            )
            11/16/2021




                                              CITY OF CHICAGO, a Municipal                  )
                                              Corporation, POLICE DEPARTMENT,               )
        DATE:




                                              and officer CARRIE A. COONEY,                 )
      DATE:




                                              individually, and as an agent and             )
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                                              employee of the CITY OF CHICAGO,              )
                                                                                            )
                                                                     Defendants.            )


                                                 PLAINTIFF’S RESPONSE TO DEFENDANT CITY OF CHICAGO’S MOTION TO
                                                                DISMISS PURSUANT TO 735 ILCS 5/2-619.1

                                                     NOW COMES Plaintiff, BRIAN POSTRELKO, by and through his attorneys, CUDA

                                              LAW OFFICES, LTD., and for his Response to Defendant’s Motion to Dismiss Plaintiff’s

                                              Complaint Pursuant to 735 ILCS 5/2-619.1, states as follows:

                                                                                  I. FACTUAL BACKGROUND

                                                     On May 12, 2021, the Plaintiff, BRIAN POSTRELKO, timely cross-filed a Charge of

                                              Discrimination with the EEOC and the Illinois Department of Human Rights. (Exhibit A – Charge

                                              of Discrimination). The EEOC issued their Dismissal and Notice of Rights letter on May 24, 2021;

                                              just twelve (12) days after the Charge of Discrimination was filed. (Exhibit B – EEOC Dismissal

                                              and Notice of Rights). The letter dated May 24, 2021, from the Illinois Department of Human

                                              Rights, indicates the following: “The 365-day time period for the Department to investigate your

                                              EEOC charge is tolled while the EEOC is investigating your charge and does not begin to run until

                                              the EEOC issues its findings. Your failure to timely provide the EEOC’s findings to the


                                                                                                1
                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 81 of 127 PageID #:84




                                              Department will result only in the Department closing your file.” (Exhibit C – May 24, 2021,

                                              IDHR Letter).
                             PM 2021L006834




                                                     On July 6, 2021, the Plaintiff filed his Complaint at Law against the CITY OF CHICAGO, a

                                              Municipal Corporation, POLICE DEPARTMENT, and officer CARRIER A. COONEY,
                        4:42 AM
              11/5/202111:58




                                              individually and as an agent and employee of the CITY OF CHICAGO. (Exhibit D – Complaint at
            11/16/2021




                                              Law). Plaintiff contends that between January and April 2021, his then-supervisor, Defendant Sgt.
        DATE:
      DATE:




                                              CARRIE COONEY, sexually harassed him, battered him and intentionally inflicted emotional
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                                              distress. The Complaint puts forth the following allegations:

                                                         a. Took an unconsented and inappropriate picture of BRIAN POSTRELKO’s
                                                            buttocks;

                                                         b. Pulled BRIAN POSTRELKO by his backpack without his consent;

                                                         c. Touched BRIAN POSTRELKO on his back and neck without his consent;

                                                         d. Grazed up against BRIAN POSTRELKO’s buttocks and back without his
                                                            consent;

                                                         e. Grabbed and fixed BRIAN POSTRELKO’s shirt collar without his consent;

                                                         f. Violated social distancing protocols;

                                                         g. Made inappropriate and unwanted sexual comments towards BRIAN
                                                            POSTRELKO;

                                                         h. Sexually harassed BRIAN POSTRELKO;

                                                         i. Retaliated against BRIAN POSTRELKO for denying her inappropriate and
                                                            unwanted advances; and

                                                         j. Sexually discriminated against BRIAN POSTRELKO on the basis of his sex.

                                                     A copy of the Charge of Discrimination as well as a copy of the Dismissal and Notice of

                                              Rights letter were attached as exhibits to Plaintiff’s Complaint at Law. (Exhibit D – Complaint at

                                              Law). The Complaint at Law was filed well within the 90-day filing period. On October 1, 2021,



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                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 82 of 127 PageID #:85




                                              the Defendant CITY OF CHICAGO filed their Motion to Dismiss pursuant to 735 ILCS 5/2-619.1.

                                              The CITY OF CHICAGO’s Motion to Dismiss requests all Counts against the CITY OF
                             PM 2021L006834




                                              CHICAGO be dismissed with prejudice.

                                                     In addition to responding to the Defendant’s Motion to Dismiss, the Plaintiff is requesting
                        4:42 AM
              11/5/202111:58




                                              leave to amend his Complaint to correct an inadvertent clerical error. The Complaint at Law was
            11/16/2021




                                              filed pursuant to the EEOC’s Notice of Rights letter, as evidenced by it being attached to and
        DATE:
      DATE:




                                              referenced in the Complaint at Law. As such, the Complaint at Law was intended to allege the
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                                              CITY OF CHICAGO violated both the Illinois Human Rights Act as well as Title VII of the Civil

                                              Rights Act.

                                                                                    LEGAL STANDARD

                                                     Under section 2-615 of the Illinois Code of Civil Procedure, a party may move for

                                              dismissal of an action where the pleadings fail to state a cause of action. Cont'l Mobile Tel. Co.

                                              v. Chi. S M S A Ltd. P'ship, 225 Ill. App. 3d 317, 324, 167 Ill. Dec. 554, 559, 587 N.E.2d 1169,

                                              1174 (1992). A cause of action should not be dismissed on the pleadings unless it clearly

                                              appears that no set of facts can be proved which will entitle the plaintiff to recover. Id. The

                                              complaint must be construed liberally and should only be dismissed when it appears that

                                              plaintiff could not recover under any set of facts. Basler, 188 Ill. App. 3d 178, 544 N.E.2d 60.

                                                     A dismissal with prejudice is deemed to be as conclusive of the rights of the parties as if

                                              the matter had proceeded to trial, and had been resolved by a final judgment adverse to plaintiff.

                                              Dunavan v. Calandrino, 167 Ill. App. 3d 952, 960, 118 Ill. Dec. 892, 896, 522 N.E.2d 347, 351

                                              (1988). Dismissal with prejudice is only warranted where it is certain from the face of the

                                              complaint that amendment would be futile. Gill v. CEC Emple. Grp., LLC, No. 19 CV 8099, 2020

                                              U.S. Dist. LEXIS 184700, at *10 (N.D. Ill. Oct. 6, 2020). Plaintiffs generally are granted at least



                                                                                                3
                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 83 of 127 PageID #:86




                                              one opportunity to amend their pleadings. Sinclair v. State Bank of Jerseyville, 226 Ill. App. 3d

                                              909, 168 Ill. Dec. 462, 589 N.E.2d 862, 1992 Ill. App. (Ill. App. Ct. 4th Dist. 1992). The Court
                             PM 2021L006834




                                              may consider documents attached to the complaint and documents that are referenced in and

                                              central to its claims. Reed v. Palmer, 906 F.3d 540, 548 (7th Cir. 2018).
                        4:42 AM
              11/5/202111:58




                                                     In Illinois, a claim relates back when it arises out of the same transaction or occurrence as
            11/16/2021




                                              the one identified in the original complaint. Schorsch v. Hewlett-Packard Co., 417 F.3d 748,
        DATE:
      DATE:




                                              751 (7th Cir. 2005). Illinois has a relation-back rule that is functionally identical to Fed. R. Civ.
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                                              P. 15(c). Id. An amendment relates back in Illinois when the original complaint "furnished to the

                                              defendant all the information necessary . . . to prepare a defense to the claim subsequently

                                              asserted in the amended complaint." Boatmen's National Bank of Belleville v. Direct Lines, Inc.,

                                              167 Ill. 2d 88, 102, 656 N.E.2d 1101, 1107, 212 Ill. Dec. 267 (1995).

                                                                                         ARGUMENT

                                              A.Plaintiff’s IHRA claim against the City of Chicago should not be dismissed

                                                     Under the IHRA, an individual has 300 calendar days after the date that a civil rights

                                              violation allegedly has been committed to file a charge of discrimination. 775 Ill. Comp. Stat. Ann.

                                              5/7A-102. Section (A-1)(1) of 775 ILCS 5/7A-102 states the following:

                                                     “(1) If a charge is filed with the Equal Employment Opportunity Commission (EEOC)

                                                     within 300 calendar days after the date of the alleged civil rights violation, the charge

                                                     shall be deemed filed with the Department on the date filed with the EEOC. If the EEOC

                                                     is the governmental agency designated to investigate the charge first, the Department

                                                     shall take no action until the EEOC makes a determination on the charge and after the

                                                     complainant notifies the Department of the EEOC’s determination. In such cases, after

                                                     receiving notice from the EEOC that a charge was filed, the Department shall notify the

                                                                                                4
                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 84 of 127 PageID #:87




                                                     parties that (i) a charge has been received by the EEOC and has been sent to the

                                                     Department for dual filing purposes; (ii) the EEOC is the governmental agency
                             PM 2021L006834




                                                     responsible for investigating the charge and that the investigation shall be conducted

                                                     pursuant to the rules and procedures adopted by the EEOC; (iii) it will take no action on
                        4:42 AM
              11/5/202111:58




                                                     the charge until the EEOC issues its determination; (iv) the complainant must submit a
            11/16/2021




                                                     copy of the EEOC’s determination within 30 days after service of the determination by
        DATE:
      DATE:




                                                     the EEOC on complainant; and (v) that the time period to investigate the charge
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                                                     contained in subsection (G) of this Section is tolled from the date on which the charge is

                                                     filed with the EEOC until the EEOC issues its determination.” 775 Ill. Comp. Stat. Ann.

                                                     5/7A-102.

                                              The IHRA does not require that a charge actually be investigated by the Illinois Department of

                                              Human Rights. Nieman v. Grange Mut. Cas. Co., No. 11-3404, 2012 U.S. Dist. LEXIS 59180,

                                              at *8-9 (C.D. Ill. Apr. 26, 2012).

                                                     BRIAN POSTRELKO’s charge of discrimination was cross-filed with the EEOC and

                                              IDHR within the 300-day limitation period. In fact, the 300-day limitation period does not

                                              expire until February 1, 2022. The May 24, 2021, letter issued to BRIAN POSTRELKO by the

                                              Illinois Department of Human Rights, indicates the following:

                                                     “Your failure to timely provide the EEOC’s findings to the Department will result only in

                                                     the Department closing your file.” (Exhibit C - May 24, 2021, IDHR Letter).

                                              There is no language within the letter issued by the Illinois Department of Human Rights or the

                                              Human Rights Act that provides for the dismissal of the charge should the EEOC’s findings not be

                                              reported to the IDHR within 30-days. In this case, the 30-day “reporting period” lapsed well before

                                              the 300-day limitation period provided for in the IHRA. In essence, the Defendant’s interpretation


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                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 85 of 127 PageID #:88




                                              of the IHRA shortens an individual’s limitation period for pursuing their charge. This would go

                                              against public policy as it negates the length of time an individual has to file a claim in the first
                             PM 2021L006834




                                              place. It would be contradictory to the 300-day policy for a claim to be lapsed and dismissed due to

                                              the failure to share findings with the non-investigating department. As the 300-day limitation
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                                              period has not lapsed, BRIAN POSTRELKO should still be allowed to pursue his IDHR charge.
            11/16/2021




                                                      As mentioned above, the Complaint at Law was filed pursuant to the EEOC’s Notice of
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                                              Rights letter, as evidenced by it being attached to and referenced in the Complaint at Law. As such,
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                                              the Complaint at Law was intended to allege the CITY OF CHICAGO violated both the Illinois

                                              Human Rights Act as well as Title VII of the Civil Rights Act. The language alleging the CITY OF

                                              CHICAGO violated Title VII of the Civil Rights Act was inadvertently omitted from the filed

                                              Complaint at Law. The original Complaint at Law was timely filed, the Plaintiff has never amended

                                              his Complaint at Law, the EEOC’s Notice of Rights letter was attached to the original Complaint at

                                              Law, the amended claim arose out of the same occurrences as the one identified in the original

                                              complaint and the original complaint provided the Defendants with all the information necessary

                                              to prepare a defense to the amended complaint. As such, the Plaintiff requests leave to amend his

                                              Complaint to remedy the inadvertent omission by adding the violation of Title VII of the Civil

                                              Rights Act.

                                              B-C.The IHRA does not preempt Plaintiff’s Battery or IIED claims. Plaintiff’s cause of action
                                              for IIED contained in Count III of his Complaint at Law is sufficiently plead and should not
                                              be dismissed

                                                      The battery and intentional infliction of emotional distress claims alleged against the CITY

                                              OF CHICAGO and officer CARRIE A. COONEY, individually and as an agent and employee of

                                              the CITY OF CHICAGO, are not inextricably linked to the civil rights violation that is also alleged

                                              by Plaintiff. The circuit court is not precluded from exercising jurisdiction over all tort claims that



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                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 86 of 127 PageID #:89




                                              related factually to a civil rights violation. Maksimovic v. Tsogalis, 177 Ill. 2d 511, 517. Whether the

                                              circuit court may exercise jurisdiction over a tort claim depends upon whether the tort claim is
                             PM 2021L006834




                                              inextricably linked to a civil rights violation, such that there is no independent basis for the action

                                              apart from the Act itself. Schroeder v. RGIS, Inc., 2013 IL App (1st) 122483, P26. If a plaintiff is
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                                              able to establish the necessary elements of the alleged tort independent of any duties created by the
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                                              Human Rights Act or Title VII, then the common law tort claim is not inextricably linked with the
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                                              civil rights violation and the circuit court may exercise jurisdiction. Id.
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                                                      Under Illinois law, the following elements are required to state a claim for the tort of

                                              intentional infliction of emotional distress: (1) extreme and outrageous conduct; (2) intent to cause

                                              severe emotional distress or knowledge that there is a high probability of causing severe emotional

                                              distress; and (3) the conduct actually caused severe emotional distress. Mazurek v. Cook County,

                                              2003 U.S. Dist. LEXIS 9100, *8. In determining whether conduct is outrageous and extreme, we

                                              use an objective standard based on all the facts and circumstances of the case. Schroeder v.

                                              RGIS, Inc., 2013 IL App (1st) 122483, ¶ 27, 992 N.E.2d 509. Whether a defendant abused a

                                              position of actual or apparent authority is a factor to consider when determining whether conduct

                                              is outrageous. Id.

                                                      Under Illinois law, the following elements are required to state a claim for the tort of

                                              battery; (1) an intentional act on the part of the defendant; (2) a resulting offensive contact with

                                              plaintiff’s person; and (3) a lack of consent to the defendant’s conduct. McNeil v. Brewer, 304

                                              Ill.App.3d 1050, 1053 (1999).

                                                      In Maksimovic v. Tsogalis, 177 Ill. 2d 511 (1997), the plaintiff filed claims of assault,

                                              battery, and false imprisonment against the defendant. The defendant moved for summary

                                              judgment arguing that plaintiff’s claims were barred, and the exclusive remedy was with the



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                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 87 of 127 PageID #:90




                                              Illinois Human Rights Commission. (Id.). The Court disagreed and found that a common law tort

                                              claim is not inextricably linked with a civil rights violation where a plaintiff can establish the
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                                              necessary elements of the tort, independent of any legal duties created by the Illinois Human

                                              Rights Act. (Id at 516). The court further found that it was not the legislative intent to abolish all
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                                              common law torts factually related to sexual harassment. (Id.). The court found that the sexual
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                                              harassment aspect of this case is merely incidental to what are otherwise ordinary common law
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                                              tort claims. (Id.). The plaintiff alleged facts sufficient to establish the elements of assault, battery,
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                                              and false imprisonment, which are long recognized tort actions that exist separate and apart from

                                              a cause of action for sexual harassment. (Id.).

                                                      The distinction between claims that are preempted and claims that are not preempted is

                                              well established and turns on the legal duty that the defendant allegedly breached; if the conduct

                                              would be actionable even aside from its character as a civil rights violation, because the Illinois

                                              Human Rights Act did not furnish the legal duty that the defendant was alleged to have breached,

                                              the IHRA does not preempt a state law claim seeking recovery for it. Naeem v. McKesson Drug

                                              Co., 444 F.3d 593, 603 (2006).

                                                      In this case, BRIAN POSTRELKO alleged facts sufficient to establish the elements of

                                              the common law tort of intentional infliction of emotional distress and battery.

                                              BRIAN POSTRELKO was continually violated and harassed by CITY OF CHICAGO agent and

                                              employee, CARRIE A. COONEY. Defendant, CARRIE A. COONEY, continually embarrassed

                                              Plaintiff in front of co-workers, assigned the Plaintiff unreasonable work tasks, denied him work

                                              re-assignment requests, followed him to and from the parking lot, made inappropriate comments

                                              towards the Plaintiff, made unwanted and unconsented physical contact with the Plaintiff and

                                              continually threatened the Plaintiff by stating she “had dirt on him.” She would repeatedly scold



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                                                Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 88 of 127 PageID #:91




                                              him in front of co-workers for being on his phone, all while other co-workers could be on their

                                              phones.
                             PM 2021L006834




                                                     Finally, BRIAN POSTRELKO reported his discomfort and disgust with her behavior.

                                              However, even after reporting his discomfort and disgust, CARRIE A. COONEY continued to
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                                              harass the Plaintiff. Additionally, no one at the CITY OF CHICAGO took any remedial action.
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                                                     The actions of CARRIE A. COONEY were outrageous and were intentionally continued
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                                              despite BRIAN POSTRELKO’s continued plea of discomfort and continual pleas for her to stop.
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                                              Any reasonable person would conclude that all these events are extreme and outrageous. The

                                              CITY OF CHICAGO and CARRIE A. COONEY knew or should have known that these actions

                                              would cause emotional distress to BRIAN POSTRELKO. These occurrences have caused

                                              BRIAN POSTRELKO to suffer from severe emotional distress, for which he sought and

                                              continues to seek medical treatment. These occurrences on their own are enough to meet the

                                              elements of intentional infliction of emotional distress.

                                                     These facts are also sufficient to establish the elements of battery. CARRIE A.

                                              COONEY forcefully grabbed BRIAN POSTRELKO by his backpack and on multiple occasions

                                              touched his back, neck and buttocks without consent. No reasonable person would refute that

                                              the actions of CARRIE A. COONEY were intentional. There is no doubt that the impermissible

                                              touching committed by CARRIE A. COONEY to BRIAN POSTRELKO was offensive contact.

                                              This type of contact was unwanted and offensive to the Plaintiff, and he never consented to being

                                              touching or grabbed by CARRIE A. COONEY. In accord with the established rules, these

                                              claims are actionable, as the common law tort claims are not inextricably linked to a civil rights

                                              violation, and the Plaintiff can establish the necessary elements of the tort independent of any

                                              legal duties created by the Illinois Human Rights Act or Title VII of the Civil Rights Act.



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                                                 Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 89 of 127 PageID #:92




                                                      The individual tort claims of intentional infliction of emotional distress and battery as

                                              alleged by Plaintiff, are not inextricably linked to the EEOC or IHRA claims. The Plaintiff
                             PM 2021L006834




                                              alleged facts relative to each tort that are sufficient to establish the elements of each common law

                                              tort claim. Therefore, they should remain pending with this court on their face.
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                                              D. Plaintiff agrees to dismiss the Chicago Police Department from this case.
            11/16/2021




                                              E. The Plaintiff requests leave to amend his Complaint to remove the requests seeking
                                              punitive damages against the City of Chicago.
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                                                      WHEREFORE, the Plaintiff, BRIAN POSTRELKO, respectfully requests this Honorable
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                                              Court to enter an order denying, in its entirety, Defendant’s Motion to Dismiss. In the alternative,

                                              Plaintiff respectfully requests leave to amend his Complaint at Law to include the Title VII Civil

                                              Rights violation, to include a more definite and complete statement of facts and to clarify that the

                                              battery and intentional infliction claims are not inextricably linked to the civil rights claims.

                                                                                                       Respectfully submitted:
                                                                                                       Anthony Cuda
                                                                                                        Attorney for Plaintiff


                                              #27099
                                              CUDA LAW OFFICES, LTD.
                                              6525 W. North Avenue, Suite 204
                                              Oak Park, Illinois 60302
                                              708-383-4900
                                              acuda@cudalaw.com




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                                                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                       11/5/2021 4:42 PM
                                                                      COUNTY DEPARTMENT, LAW DIVISION                               IRIS Y. MARTINEZ
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                                              BRIAN POSTRELKO                               )
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                                                                     Plaintiff,             )
                                                                                            )
                                                     Vs.                                    )       No.: 21 L 6834
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                                              CITY OF CHICAGO, a Municipal                  )
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                                              Corporation, POLICE DEPARTMENT,               )
                                              and officer CARRIE A. COONEY,                 )
                                              individually, and as an agent and             )
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                                              employee of the CITY OF CHICAGO,              )
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                                                                     Defendants.            )

                                                                                    NOTICE OF FILING

                                              To:    Mr. Scott Crouch, Ms. Jessica Durkin
                                                     2 N. LaSalle, Suite 640
                                                     Chicago, Illinois 60602
                                                     Scott.crouch@cityofchicago.org; Jessica.durkin@cityofchicago.org

                                                     Please take Notice on the 5th day of November, 2021 we filed with the Clerk of the Circuit
                                              Court of Cook County, Illinois, certain documents, copies of which are attached hereto, to wit:

                                                             *PLAINTIFF’S RESPONSE TO DEFENDANT, CITY OF CHICAGO’S,
                                                             MOTION TO DISMISS PURSUANT TO 735 ILCS 5/2-619.1

                                                    I, Anthony Cuda, the attorney, certify that I served this Notice and copies of the foregoing
                                              documents to all counsel of record by email to the addresses listed above, on the 5th day of
                                              November, 2021.

                                                                                                            Anthony Cuda


                                              Attorney No.: 27099
                                              CUDA LAW OFFICES, LTD.
                                              Attorney for Plaintiff
                                              6525 West North Avenue, Suite 204
                                              Oak Park, Illinois 60302
                                              708-383-4900
                                              acuda@cudalaw.com
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 110 of 127 PageID #:113




                                                                                   EXHIBIT H
Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 111 of 127 PageID #:114
                       Case:scheduled
      Hearing Date: No hearing 1:22-cv-00173                           Document #: 1-1 Filed: 01/11/22 Page 112 of 127 PageID #:115
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                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                   IRIS Y. MARTINEZ
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                                              BRIAN POSTRELKO                             )                                    Calendar, T
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                                                                                          )
                                                                    Plaintiff,            )
                                                                                          )
                                                     Vs.                                  )       No.: 2021L006834
                                                                                          )
                                              CITY OF CHICAGO, a Municipal                )
                                              Corporation, POLICE DEPARTMENT,             )
                                              and officer CARRIE A. COONEY,               )
                                              individually, and as an agent and           )
                                              employee of the CITY OF CHICAGO,            )
                                                                                          )
                                                                    Defendants.           )

                                                              PLAINTIFF’S FIRST AMENDED COMPLAINT AT LAW

                                                     NOW COMES the Plaintiff, BRIAN POSTRELKO, by and through his attorneys, CUDA

                                              LAW OFFICES, LTD., and complaining of the Defendants, CITY OF CHICAGO, a Municipal

                                              Corporation, POLICE DEPARTMENT and officer CARRIE A. COONEY, individually and as an

                                              agent and employee of the CITY OF CHICAGO, states as follows:

                                                                 COUNT I – VIOLATION OF HUMAN RIGHTS ACT
                                                                   BRIAN POSTRELKO vs CITY OF CHICAGO

                                                     1)     Defendant, CITY OF CHICAGO, a Municipal Corporation, (hereinafter “CITY

                                              OF CHICAGO”), was and still is a duly organized and existing corporation in and about the City

                                              of Chicago, County of Cook and State of Illinois.

                                                     2)     At all times relevant to this Complaint, Defendant, CARRIE A. COONEY,

                                              individually, was a police officer and agent and employee of Defendant, CITY OF CHICAGO.

                                                     3)     On or about January 4, 2021, Plaintiff, BRIAN POSTRELKO, was offered a

                                              position with the CITY OF CHICAGO, which was at their Headquarters and within the Awards

                                              Department.

                                                                                              1
                                                                                                                               EXHIBIT I
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 113 of 127 PageID #:116




                                                     4)      Throughout the course of BRIAN POSTRELKO’S employment with the CITY

                                              OF CHICAGO between January 2021, and March 2021, the Defendant, CARRIE A. COONEY,
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              as an agent and employee of Defendant, CITY OF CHICAGO, on several occasions, made

                                              inappropriate comments and advances towards BRIAN POSTRELKO.

                                                     5)      During these encounters Defendant CARRIE A. COONEY as agent and

                                              employee of Defendant, CITY OF CHICAGO:

                                                          a. Took an unconsented and inappropriate picture of BRIAN POSTRELKO’s
                                                             buttocks;

                                                          b. Pulled BRIAN POSTRELKO by his backpack without his consent;

                                                          c. Touched BRIAN POSTRELKO on his back and neck without his consent;

                                                          d. Grazed up against BRIAN POSTRELKO’s buttocks and back without his
                                                             consent;

                                                          e. Grabbed and fixed BRIAN POSTRELKO’s shirt collar without his consent;

                                                          f. Violated social distancing protocols;

                                                          g. Made inappropriate and unwanted sexual comments towards BRIAN
                                                             POSTRELKO;

                                                          h. Sexually harassed BRIAN POSTRELKO;

                                                          i. Retaliated against BRIAN POSTRELKO for denying her inappropriate and
                                                             unwanted advances;

                                                          j. Sexually discriminated against BRIAN POSTRELKO on the basis of his sex.

                                                     6)      During the course of these encounters, Defendant CITY OF CHICAGO, knew or

                                              should have known about the inappropriate conduct directed at BRIAN POSTRELKO and failed

                                              to take appropriate action.




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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 114 of 127 PageID #:117




                                                     7)       On each occasion during which the Defendant CARRIE A. COONEY made the

                                              foregoing inappropriate and sexually related overtures, BRIAN POSTRELKO, informed the
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              Defendant that he objected to the advances, behavior and comments.

                                                     8)       CITY OF CHICAGO, was at all times herein Plaintiff’s employer as

                                              contemplated by 775 ILCS 5/2-101(B)(1)(b).

                                                     9)       At all times relevant, Plaintiff was an employee of, CITY OF CHICAGO, as

                                              contemplated by 775 ILCS 5/2-101(A)(1).

                                                     10)      For purposes of this Complaint, Defendant, CARRIE A. COONEY, was a

                                              managerial employee and agent of Defendant CITY OF CHICAGO, as contemplated by 775

                                              ILCS 5/2-102(D) and at all times relevant to this Complaint had managerial and supervisory

                                              authority over BRIAN POSTRELKO in his capacity as an employee of Defendant, CITY OF

                                              CHICAGO.

                                                     11)      As a managerial and supervisory employee and agent of Defendant CITY OF

                                              CHICAGO, Defendant CARRIE A. COONEY engaged in the foregoing conduct set forth in

                                              Paragraphs 5.

                                                     12)      This action is brought pursuant to Article II of the Illinois Human Rights Act [775

                                              ILCS 5/2-101 et seq.].

                                                     13)      The forgoing acts perpetrated against BRIAN POSTRELKO by the Defendant

                                              CARRIE A. COONEY constituted acts of sexual harassment, in violation of 775 ILCS 5/2-

                                              102(D).

                                                     14)      Within 180 days of the forgoing acts of sexual harassment, BRIAN POSTRELKO

                                              brought a Charge of Discrimination against the Defendant CITY OF CHICAGO, before the




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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 115 of 127 PageID #:118




                                              Illinois Department of Human Rights (hereinafter “the Department”), as contemplated by 775

                                              ILCS 5/7A-102. A copy of said Charge of Discrimination is attached hereto as Exhibit A.
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                     15)    BRIAN POSTRELKO received his Notice of Rights letter from the EEOC on

                                              May 24, 2021. A copy of said Notice of Rights letter is attached hereto as Exhibit B.

                                                     16)    As a result of the foregoing acts of sexual harassment perpetrated against him by

                                              the Defendant CARRIE A. COONEY, who was at the time acting as an agent of Defendant,

                                              CITY OF CHICAGO, and having managerial authority over BRIAN POSTRELKO, Plaintiff

                                              suffered severe and permanent emotional distress and psychological suffering and has suffered

                                              economic losses, which are a direct and proximate result of the foregoing harassment.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CITY OF CHICAGO, for actual damages in an amount in

                                              excess of $50,000.00.

                                                COUNT II – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, as
                                                                              amended
                                                               BRIAN POSTRELKO vs CITY OF CHICAGO

                                                     17)    Defendant, CITY OF CHICAGO, a Municipal Corporation, (hereinafter “CITY

                                              OF CHICAGO”), was and still is a duly organized and existing corporation in and about the City

                                              of Chicago, County of Cook and State of Illinois.

                                                     18)    At all times relevant to this Complaint, Defendant, CARRIE A. COONEY,

                                              individually, was a police officer and agent and employee of Defendant, CITY OF CHICAGO.

                                                     19)    On or about January 4, 2021, Plaintiff, BRIAN POSTRELKO, was offered a

                                              position with the CITY OF CHICAGO, which was at their Headquarters and within the Awards

                                              Department.




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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 116 of 127 PageID #:119




                                                     20)      Throughout the course of BRIAN POSTRELKO’S employment with the CITY

                                              OF CHICAGO between January 2021, and March 2021, the Defendant, CARRIE A. COONEY,
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              as an agent and employee of Defendant, CITY OF CHICAGO, on several occasions, made

                                              inappropriate comments and advances towards BRIAN POSTRELKO.

                                                     21)      During these encounters Defendant CARRIE A. COONEY as agent and

                                              employee of Defendant, CITY OF CHICAGO:

                                                           a. Took an unconsented and inappropriate picture of BRIAN POSTRELKO’s
                                                              buttocks;

                                                           b. Pulled BRIAN POSTRELKO by his backpack without his consent;

                                                           c. Touched BRIAN POSTRELKO on his back and neck without his consent;

                                                           d. Grazed up against BRIAN POSTRELKO’s buttocks and back without his
                                                              consent;

                                                           e. Grabbed and fixed BRIAN POSTRELKO’s shirt collar without his consent;

                                                           f. Violated social distancing protocols;

                                                           g. Made inappropriate and unwanted sexual comments towards BRIAN
                                                              POSTRELKO;

                                                           h. Sexually harassed BRIAN POSTRELKO;

                                                           i. Retaliated against BRIAN POSTRELKO for denying her inappropriate and
                                                              unwanted advances;

                                                           j. Sexually discriminated against BRIAN POSTRELKO on the basis of his sex.

                                                     22)      During the course of these encounters, Defendant CITY OF CHICAGO, knew or

                                              should have known about the inappropriate conduct directed at BRIAN POSTRELKO and failed

                                              to take appropriate action.




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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 117 of 127 PageID #:120




                                                     23)      On each occasion during which the Defendant CARRIE A. COONEY made the

                                              foregoing inappropriate and sexually related overtures, BRIAN POSTRELKO, informed the
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              Defendant that he objected to the advances, behavior and comments.

                                                     24)      CITY OF CHICAGO, was at all times herein Plaintiff’s employer as

                                              contemplated by 42 USC § 2000e(b).

                                                     25)      At all times relevant, Plaintiff was an employee of, CITY OF CHICAGO, as

                                              contemplated by 42 USC § 2000e(f).

                                                     26)      Defendant, CARRIE A. COONEY, was a managerial employee and agent of

                                              Defendant CITY OF CHICAGO, and at all times relevant to this Complaint had managerial and

                                              supervisory authority over BRIAN POSTRELKO in his capacity as an employee of Defendant,

                                              CITY OF CHICAGO.

                                                     27)      As a managerial and supervisory employee and agent of Defendant CITY OF

                                              CHICAGO, Defendant CARRIE A. COONEY engaged in the foregoing conduct set forth in

                                              Paragraphs 5.

                                                     28)      Title VII of the Civil Rights Act of 1964, as amended, makes it unlawful for an

                                              employer, “(1) to fail or refuse to hire or to discharge any individual, or otherwise to discriminate

                                              against any individual with respect to his compensation, terms, conditions, or privileges of
                                              employment, because of such individual’s race, color, religion, sex, or national origin; or (2) to

                                              limit, segregate, or classify his employees or applicants for employment in any way which would

                                              deprive or tend to deprive any individual of employment opportunities or otherwise adversely

                                              affect his status as an employee, because of such individual’s race, color, religion, sex, or

                                              national origin.” 42 U.S.C. § 2000e-2(a).




                                                                                                6
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 118 of 127 PageID #:121




                                                     29)      The forgoing acts perpetrated against BRIAN POSTRELKO by the Defendant

                                              CARRIE A. COONEY constituted acts of sexual discrimination, in violation of 42 U.S.C. §
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              2000e et seq.

                                                     30)      Within 180 days of the forgoing acts of sexual harassment, BRIAN POSTRELKO

                                              brought a Charge of Discrimination against the Defendant CITY OF CHICAGO, before the

                                              EEOC and Illinois Department of Human Rights (hereinafter “the Department”), a copy of said

                                              Charge of Discrimination is attached hereto as Exhibit A.

                                                     31)      BRIAN POSTRELKO received his Notice of Rights letter from the EEOC on

                                              May 24, 2021. A copy of said Notice of Rights letter is attached hereto as Exhibit B.

                                                     32)      As a result of the foregoing acts of sexual harassment perpetrated against him by

                                              the Defendant CARRIE A. COONEY, who was at the time acting as an agent of Defendant,

                                              CITY OF CHICAGO, and having managerial authority over BRIAN POSTRELKO, Plaintiff

                                              suffered severe and permanent emotional distress and psychological suffering and has suffered

                                              economic losses, which are a direct and proximate result of the foregoing harassment.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CITY OF CHICAGO, for actual damages in an amount in

                                              excess of $50,000.00.

                                                                              COUNT III – BATTERY
                                                                      BRIAN POSTRELKO vs CITY OF CHICAGO

                                                     33-43) Plaintiff, BRIAN POSTRELKO, adopts and realleges each and every allegation

                                              of Paragraphs 1 through 11 of Count I above as and for Paragraphs 33-43 of Count III of his

                                              Complaint as though fully set forth herein.

                                                     44)      Between January 2021, and March 2021, Defendant CARRIE A. COONEY, as

                                              agent and employee of Defendant, CITY OF CHICAGO, without the consent of BRIAN

                                                                                               7
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 119 of 127 PageID #:122




                                              POSTRELKO, made offensive physical contact with Plaintiff, causing him apprehension for his

                                              personal safety.
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                     45)     Contact with BRIAN POSTRELKO as set forth in Paragraph 5, constituted

                                              impermissible touching and battery perpetrated against BRIAN POSTRELKO.

                                                     46)     As a direct and proximate result of the acts of battery perpetrated against him by

                                              Defendant CARRIE A. COONEY, as agent and employee of Defendant CITY OF CHICAGO,

                                              BRIAN POSTRELKO has suffered humiliation, shame and emotional distress.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CARRIE A. COONEY, for actual damages in an amount in

                                              excess of $50,000.00.

                                                      COUNT IV – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                                 BRIAN POSTRELKO vs CITY OF CHICAGO

                                                     47-57) Plaintiff, BRIAN POSTRELKO, adopts and realleges each and every allegation

                                              of Paragraphs 1 through 11 of Count I above as and for Paragraphs 47-57 of Count IV of his

                                              Complaint as though fully set forth herein.

                                                     58)     The inappropriate sexual advances and impermissible touching of the Plaintiff as

                                              set forth in Paragraph 5 hereof were willful and deliberate and were of such a character that any

                                              reasonable person would know they would cause the Plaintiff, BRIAN POSTRELKO, to suffer

                                              emotional distress.

                                                     59)     That in so acting, the Defendant CARRIE A. COONEY, as agent and employee

                                              of Defendant, CITY OF CHICAGO, intentionally inflicted emotional distress upon BRIAN

                                              POSTRELKO.




                                                                                              8
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 120 of 127 PageID #:123




                                                     60)      As a result of the conduct of the Defendant CARRIE A. COONEY, as agent and

                                              employee of Defendant CITY OF CHICAGO, as expressed in Paragraph 5 hereof, BRIAN
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              POSTRELKO was caused to suffer severe and permanent emotional distress.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CITY OF CHICAGO, for actual damages in an amount in

                                              excess of $50,000.00.

                                                                 COUNT V – VIOLATION OF HUMAN RIGHTS ACT
                                                               BRIAN POSTRELKO vs CARRIE A. COONEY, Individually

                                                     61)      At all times relevant to this Complaint, Defendant CARRIE A. COONEY,

                                              individually was a police officer and agent and employee of Defendant, CITY OF CHICAGO.

                                                     62)      On or about January 4, 2021, Plaintiff BRIAN POSTRELKO was offered a

                                              position with the CITY OF CHICAGO.

                                                     63)      Throughout the course of BRIAN POSTRELKO’S employment with the CITY

                                              OF CHICAGO between January 2021, and March 2021, the Defendant, CARRIE A. COONEY,

                                              as an agent and employee of Defendant, CITY OF CHICAGO, on several occasions, made

                                              inappropriate comments and advances towards BRIAN POSTRELKO.

                                                     64)      During these encounters Defendant CARRIE A. COONEY, individually:

                                                           a. Took an unconsented and inappropriate picture of BRIAN POSTRELKO’s
                                                              buttocks;

                                                           b. Pulled BRIAN POSTRELKO by his backpack without his consent;

                                                           c. Touched BRIAN POSTRELKO on his back and neck without his consent;

                                                           d. Grazed up against BRIAN POSTRELKO’s buttocks and back without his
                                                              consent;

                                                           e. Grabbed and fixed BRIAN POSTRELKO’s shirt collar without his consent;

                                                           f. Violated social distancing protocols;

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                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 121 of 127 PageID #:124




                                                           g. Made inappropriate and unwanted sexual comments towards BRIAN
                                                              POSTRELKO;
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                           h. Sexually harassed BRIAN POSTRELKO;

                                                           i. Retaliated against BRIAN POSTRELKO for denying her inappropriate and
                                                              unwanted advances; and

                                                           j. Sexually discriminated against BRIAN POSTRELKO on the basis of his sex.

                                                     65)      On each occasion during which the Defendant CARRIE A. COONEY made the

                                              foregoing inappropriate and sexually related overtures, BRIAN POSTRELKO informed the

                                              Defendant that he objected to the advances, behavior and comments.

                                                     66)      For purposes of this Complaint, CITY OF CHICAGO, was at all times herein

                                              Plaintiff’s employer as contemplated by 775 ILCS 5/2-101(B)(1)(b).

                                                     67)      At all times relevant, Plaintiff was an employee of, CITY OF CHICAGO, as

                                              contemplated by 775 ILCS 5/2-101(A)(1).

                                                     68)      For purposes of this Complaint, Defendant, CARRIE A. COONEY, was a

                                              managerial employee and agent of Defendant CITY OF CHICAGO, as contemplated by 775

                                              ILCS 5/2-102(D) and at all times relevant to this Complaint had managerial and supervisory

                                              authority over BRIAN POSTRELKO in his capacity as an employee of Defendant, CITY OF

                                              CHICAGO.

                                                     69)      As a managerial and supervisory employee and agent of Defendant CITY OF

                                              CHICAGO, Defendant CARRIE A. COONEY engaged in the foregoing conduct set forth in

                                              Paragraph 5.

                                                     70)      This action is brought pursuant to Article II of the Illinois Human Rights Act [775

                                              ILCS 5/2-101 et seq.].




                                                                                              10
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 122 of 127 PageID #:125




                                                     71)     The forgoing acts perpetrated against BRIAN POSTRELKO by the Defendant

                                              CARRIE A. COONEY constituted acts of sexual harassment, in violation of 775 ILCS 5/2-
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                              102(D).

                                                     72)     Within 180 days of the forgoing acts of sexual harassment, BRIAN POSTRELKO

                                              brought a Charge of Discrimination against the Defendant CITY OF CHICAGO, before the

                                              Illinois Department of Human Rights (hereinafter “the Department”), as contemplated by 775

                                              ILCS 5/7A-102. A copy of said Charge of Discrimination is attached hereto as Exhibit A.

                                                     73)     BRIAN POSTRELKO received his Notice of Rights letter from the EEOC on

                                              May 24, 2021. A copy of said Notice of Rights letter is attached hereto as Exhibit B.

                                                     74)     As a result of the foregoing acts of sexual harassment perpetrated against him by

                                              the Defendant CARRIE A. COONEY, individually, who at that time had managerial authority

                                              over BRIAN POSTRELKO, Plaintiff suffered severe and permanent emotional distress and

                                              psychological suffering and has suffered economic losses, which are a direct and proximate

                                              result of the foregoing harassment.

                                                     75)     The acts of the Defendants were so outrageous as to warrant imposition of

                                              punitive damages authorized by the Illinois Human Rights Act in order to deter other employers

                                              from similar acts.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CARRIE A. COONEY, individually, for actual and punitive

                                              damages in an amount in excess of $50,000.00.




                                                                                              11
                                              Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 123 of 127 PageID #:126




                                              COUNT VI – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, as
                                                                           amended
                                                       BRIAN POSTRELKO vs CARRIE A. COONEY, Individually
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                      76) At all times relevant to this Complaint, Defendant CARRIE A. COONEY,

                                               individually was a police officer and agent and employee of Defendant, CITY OF

                                               CHICAGO.

                                                      77) On or about January 4, 2021, Plaintiff BRIAN POSTRELKO was offered a

                                               position with the CITY OF CHICAGO.

                                                      78) Throughout the course of BRIAN POSTRELKO’S employment with the CITY

                                               OF CHICAGO between January 2021, and March 2021, the Defendant, CARRIE A.

                                               COONEY, as an agent and employee of Defendant, CITY OF CHICAGO, on several

                                               occasions, made inappropriate comments and advances towards BRIAN POSTRELKO.

                                                      79) During these encounters Defendant CARRIE A. COONEY, individually:

                                                      a. Took an unconsented and inappropriate picture of BRIAN POSTRELKO’s
                                                         buttocks;

                                                      b. Pulled BRIAN POSTRELKO by his backpack without his consent;

                                                      c. Touched BRIAN POSTRELKO on his back and neck without his consent;

                                                      d. Grazed up against BRIAN POSTRELKO’s buttocks and back without his
                                                         consent;

                                                      e. Grabbed and fixed BRIAN POSTRELKO’s shirt collar without his consent;

                                                      f. Violated social distancing protocols;

                                                      g. Made inappropriate and unwanted sexual comments towards BRIAN
                                                         POSTRELKO;

                                                      h. Sexually harassed BRIAN POSTRELKO;

                                                      i. Retaliated against BRIAN POSTRELKO for denying her inappropriate and
                                                         unwanted advances; and


                                                                                         12
                                              Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 124 of 127 PageID #:127




                                                      j. Sexually discriminated against BRIAN POSTRELKO on the basis of his sex.

                                                      80) On each occasion during which the Defendant CARRIE A. COONEY made the
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                               foregoing inappropriate and sexually related overtures, BRIAN POSTRELKO informed the

                                               Defendant that he objected to the advances, behavior and comments.

                                                      81) CITY OF CHICAGO, was at all times herein Plaintiff’s employer as

                                               contemplated by 42 USC § 2000e(b).

                                                      82) At all times relevant, Plaintiff was an employee of, CITY OF CHICAGO, as

                                               contemplated by 42 USC § 2000e(f).

                                                      83) For purposes of this Complaint, Defendant, CARRIE A. COONEY, was a

                                               managerial employee and agent of Defendant CITY OF CHICAGO, and at all times relevant

                                               to this Complaint had managerial and supervisory authority over BRIAN POSTRELKO in

                                               his capacity as an employee of Defendant, CITY OF CHICAGO.

                                                      84) As a managerial and supervisory employee and agent of Defendant CITY OF

                                               CHICAGO, Defendant CARRIE A. COONEY engaged in the foregoing conduct set forth in

                                               Paragraph 5.

                                                      85) Title VII of the Civil Rights Act of 1964, as amended, makes it unlawful for an
                                               employer, “(1) to fail or refuse to hire or to discharge any individual, or otherwise to

                                               discriminate against any individual with respect to his compensation, terms, conditions, or

                                               privileges of employment, because of such individual’s race, color, religion, sex, or national

                                               origin; or (2) to limit, segregate, or classify his employees or applicants for employment in

                                               any way which would deprive or tend to deprive any individual of employment opportunities

                                               or otherwise adversely affect his status as an employee, because of such individual’s race,

                                               color, religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a).




                                                                                            13
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 125 of 127 PageID #:128




                                                        86) The forgoing acts perpetrated against BRIAN POSTRELKO by the Defendant

                                                 CARRIE A. COONEY constituted acts of sexual discrimination, in violation of 42 U.S.C. §
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                 2000e et seq.

                                                        87) Within 180 days of the forgoing acts of sexual harassment, BRIAN POSTRELKO

                                                 brought a Charge of Discrimination against the Defendant CITY OF CHICAGO, before the

                                                 EEOC and Illinois Department of Human Rights (hereinafter “the Department”), a copy of

                                                 said Charge of Discrimination is attached hereto as Exhibit A.

                                                        88) BRIAN POSTRELKO received his Notice of Rights letter from the EEOC on

                                                 May 24, 2021. A copy of said Notice of Rights letter is attached hereto as Exhibit B.

                                                        89) As a result of the foregoing acts of sexual harassment perpetrated against him by

                                                 the Defendant CARRIE A. COONEY, individually, who at that time had managerial

                                                 authority over BRIAN POSTRELKO, Plaintiff suffered severe and permanent emotional

                                                 distress and psychological suffering and has suffered economic losses, which are a direct and

                                                 proximate result of the foregoing harassment.

                                                        90) The acts of the Defendants were so outrageous as to warrant imposition of

                                                 punitive damages authorized by Title VII of the Civil Rights Act of 1964, as amended (42

                                                 U.S.C. § 2000e et seq.) in order to deter other employers from similar acts.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CARRIE A. COONEY, individually, for actual and punitive

                                              damages in an amount in excess of $50,000.00.




                                                                                              14
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 126 of 127 PageID #:129




                                                                         COUNT VII – BATTERY
                                                             BRIAN POSTRELKO vs CARRIE A. COONEY, Individually
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                     91-96) Plaintiff, BRIAN POSTRELKO, adopts and realleges each and every allegation

                                                             of Paragraphs 60 through 65 of Count V above as and for Paragraphs 91-96 of

                                                             Count VII of his Complaint as though fully set forth herein.

                                                     97)     Between January 2021, and March 2021, Defendant CARRIE A. COONEY,

                                              individually, without the consent of BRIAN POSTRELKO, made offensive physical contact

                                              with Plaintiff, causing him apprehension for his personal safety.

                                                     98)     Contact with BRIAN POSTRELKO as set forth in Paragraph 5, constituted

                                              impermissible touching and battery perpetrated against BRIAN POSTRELKO.

                                                     99)     As a direct and proximate result of the acts of battery perpetrated against him by

                                              Defendant CARRIE A. COONEY, individually, Plaintiff BRIAN POSTRELKO has suffered

                                              humiliation, shame and emotional distress.

                                                     100)    The acts of the Defendants were so outrageous as to warrant imposition of

                                              punitive damages authorized by Title VII of the Civil Rights Act of 1964, as amended (42 U.S.C.

                                              § 2000e et seq.) in order to deter other employers from similar acts.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CARRIE A. COONEY, individually, for actual and punitive

                                              damages in an amount in excess of $50,000.00.

                                                     COUNT VIII – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                          BRIAN POSTRELKO vs CARRIE A. COONEY, Individually

                                                     101-106)        Plaintiff, BRIAN POSTRELKO, adopts and realleges each and every

                                                     allegation of Paragraphs 60 through 65 of Count V above as and for Paragraphs 101-106

                                                     of Count VIII of his Complaint as though fully set forth herein.



                                                                                              15
                                               Case: 1:22-cv-00173 Document #: 1-1 Filed: 01/11/22 Page 127 of 127 PageID #:130




                                                 107)       The inappropriate sexual advances and impermissible touching of the Plaintiff as

                                                     set forth in Paragraph 5 hereof were willful and deliberate and were of such a character
FILED DATE: 12/15/2021 12:59 PM 2021L006834




                                                     that any reasonable person would know they would cause the Plaintiff, BRIAN

                                                     POSTRELKO, to suffer emotional distress.

                                                 108)       That in so acting, the Defendant CARRIE A. COONEY, individually,

                                                     intentionally inflicted emotional distress upon BRIAN POSTRELKO.

                                                 109)       As a result of the conduct of the Defendant CARRIE A. COONEY, individually,

                                                     as expressed in Paragraph 5 hereof, Plaintiff BRIAN POSTRELKO was caused to suffer

                                                     severe and permanent emotional distress.

                                                 110)       The acts of the Defendants were so outrageous as to warrant imposition of

                                                     punitive damages authorized by Title VII of the Civil Rights Act of 1964, as amended (42

                                                     U.S.C. § 2000e et seq.) in order to deter other employers from similar acts.

                                                     WHEREFORE, Plaintiff, BRIAN POSTRELKO, respectfully prays for judgment for the

                                              Plaintiff and against the Defendant, CARRIE A. COONEY, individually, for actual and punitive

                                              damages in an amount in excess of $50,000.00.

                                                                                                          Respectfully submitted


                                                                                                   By:    Anthony Cuda
                                                                                                          Attorney for Plaintiff

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                                                                                              16
